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14
                     IN THE UNITED STATES DISTRICT COURT
15        FOR THE NORTHERN DISTRICT OF CALIFORNIA – SAN JOSE DIVISION

16
     PATRICK CALHOUN, ELAINE CRESPO,                        Case No. 5:20-cv-05146-LHK-SVK
17   HADIYAH JACKSON, CLAUDIA KINDLER,
     LEROY RANDOLPH, Dr. CORINICE WILSON,
18   Dr. RODNEY JOHNSON, MICHAEL HENRY,                     FIRST AMENDED CLASS
     NICHOLAS GENOVA, and JOSÉ MARÍA de                     ACTION COMPLAINT
19   GUZMÁN, on behalf of themselves and all others
     similarly situated,
20                                                          DEMAND FOR JURY TRIAL
                            Plaintiffs,
21
            v.
22
     GOOGLE LLC,
23
                            Defendant.
24

25
          PUBLIC REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
26

27

28

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 1   I.      INTRODUCTION

 2           1.     This is a nationwide data privacy class action brought by and on behalf of Google

 3   Chrome users who chose not to “Sync” their browsers with their Google accounts while browsing

 4   the web (“Un-Synced Chrome Users”) from July 27, 2016 to the present (the “Relevant Period”).

 5           2.     Google expressly promises Chrome users that they “don’t need to provide any

 6   personal information to use Chrome” and that “[t]he personal information that Chrome stores won’t

 7   be sent to Google unless you choose to store that data in your Google Account by turning on

 8   sync[.]”

 9           3.     Despite these express and binding promises, Google intentionally and unlawfully

10   causes Chrome to record and send users’ personal information to Google regardless of whether a

11   user elects to Sync or even has a Google account.

12           4.     Examples of personal data improperly created and sent to Google by Chrome

13   include:

14                  a.     IP addresses linked to user agents;

15                  b.     Unique, persistent cookie identifiers including the Client ID;

16                  c.     Unique browser identifiers called X-Client Data Headers; and

17                  d.     Browsing history.

18           5.     This First Amended Complaint provides specific examples of the personal data flow

19   that Chrome sent from Plaintiffs’ devices as they used Chrome while not Synced, demonstrating

20   that Chrome secretly sends personal information to Google even when a Chrome user does not

21   Sync.

22           6.     Google’s contract with Chrome users designates California law, and consistent with

23   California law, defines “Personal Information” as “information that you provide to us which

24   personally identifies you . . . or other data that can be reasonably linked to such information by

25   Google, such as information we associate with your Google Account.”

26           7.     Each category of data identified above is “personal information” because it either

27   personally identifies the user or can be reasonably linked to such information. Furthermore, Google

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 1   affirmatively discloses that it associates data gathered from Chrome with users. Google has

 2   therefore breached its contract with Un-Synced Chrome Users.

 3           8.     The improperly collected web browsing history also consists of electronic

 4   communications that contain content protected by California and federal wiretap laws. Google

 5   collects the content contemporaneously with the communications; Google does not obtain consent

 6   from Un-Synced Chrome Users to intercept these communications; and Google is not a party to

 7   them. Google is thus violating the federal Electronic Communications Privacy Act and analogue

 8   California statutes.

 9           9.     Google’s actions are a serious violation of user privacy. Google tracking code is

10   found on websites accounting for more than half of all internet traffic and Chrome is the dominant

11   web browser (used on a majority of desktop computers in the United States), giving Google

12   unprecedented power to surveil the lives of more than half of the online country in real time. And

13   because some of Google’s third-party tracking cookies are disguised as first-party cookies to

14   facilitate cookie syncing, Google is misrepresenting its privacy practices in ways that have been

15   successfully challenged by the FTC in the past. 1

16           10.    Google’s extensive network of affiliates—Google Sites, Google Apps, Google

17   Account, Google Drive, Google AdWords—as well as its business partnerships means that sharing

18   information with Google feeds it into a massive interconnected database of surveillance material.

19   Google’s surveillance of the Plaintiffs and other Un-Synced Chrome Users directly contradicts its

20   promises to honor users’ choice not to share data. This is a serious and irreversible invasion of

21   privacy that is invisible to Google users.

22           11.    Google’s actions also constitute rank theft. Plaintiffs’ PI is a form of property

23   recognized under California law and has economic value in the marketplace. Taking Plaintiffs’ PI

24   from their computers without consent is larceny; any profits earned on the PI are unjustly earned at

25   the expense of Plaintiffs and must be disgorged. Had Google been transparent about its level of

26   surveillance, user engagement—a key metric for Google’s sales—would have decreased.

27   1
       United States v. Google, Inc., 12-cv-4177-SI (N.D. Cal.), complaint dated Aug. 8, 2012, at ¶¶ 46-
     47.
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 1          12.     Google’s actions also constitute unlawful computer intrusion under California and

 2   federal law. Google introduced computer code into Plaintiffs’ computers and caused damage

 3   without authorization by turning the computers into surveillance machines that reported Plaintiffs’

 4   personal information, including private web browsing, to Google, in real time.

 5          13.     Plaintiffs and the other Un-Synced Chrome Users have suffered privacy harm and

 6   economic harm as a result of Google’s wrongful acts. Plaintiffs therefore bring contract, statutory,

 7   common law and equitable claims against Google for money damages, restitution, disgorgement,

 8   punitive damages and injunctive relief.

 9   II.    JURISDICTION AND VENUE

10          A.      Personal Jurisdiction

11          14.     This Court has personal jurisdiction over Defendant because Defendant is

12   headquartered in this District. Google also concedes personal jurisdiction in the current and prior

13   general Google Terms of Service. See Exhibits 2 through 4.

14          B.      Subject Matter Jurisdiction

15          15.      This Court has subject matter jurisdiction over the federal claims in this action,

16   namely the Federal Wiretap Act, 18 U.S.C. § 2511 (the “Wiretap Act”), the Stored Communication

17   Act, 18 U.S.C. § 2701 (“SCA”), the Computer Fraud and Abuse Act, 18 U.S.C. § 1030 (the

18   “CFAA”) and request for Declaratory Relief under 18 U.S.C. § 2201, pursuant to 28 U.S.C. § 1331.

19          16.      This Court also has subject matter jurisdiction over this entire action pursuant to the

20   Class Action Fairness Act (“CAFA”), 28 U.S.C. § 1332(d), because this is a class action in which

21   the amount in controversy exceeds $5,000,000, and at least one member of the class is a citizen of

22   a state other than California or Delaware.

23          17.     This Court also has supplemental jurisdiction over the state law claims in this action

24   pursuant to 28 U.S.C. § 1367 because the state law claims form part of the same case or controversy

25   as those that give rise to the federal claims.

26

27

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            C.      Venue
 1
            18.     Venue is proper in this District because the Defendant is headquartered in this
 2
     District. In addition, in the current Google general Terms of Service and prior versions, Google
 3
     purports to bind Plaintiffs to bring disputes in this District. See Exhibits 2 through 4.
 4
     III.   THE INTRADISTRICT ASSIGNMENT
 5
            19.     Assignment of this case to the San Jose Division is proper pursuant to Civil Local
 6
     Rule 3-2(c)(e) because a substantial part of the events or omissions giving rise to Plaintiffs’ claims
 7
     occurred in Santa Clara County, California.
 8
     IV.    PARTIES
 9
            20.     Plaintiff Patrick Calhoun is an adult domiciled in Florida. Plaintiff has used the
10
     Chrome browser on his personal laptop for numerous activities, including exchanging
11
     communications with state government agencies                                                        .
12
     Plaintiff has also routinely used the Chrome browser to exchange communications about news,
13
     politics, and more. Plaintiff has not enabled Sync with his Google accounts on his personal laptop
14
     and never consented to Chrome sharing his Personal Information, including the contents of his
15
     Internet communications, with Google. Despite his lack of consent and expressly promising
16
     otherwise, Chrome shared Calhoun’s personal information with Google, including the content of
17
     his communications. Plaintiff has temporarily stopped using Chrome but wishes to use it again
18
     once Google stops tracking un-synced users.
19
            21.     Plaintiff Elaine Crespo is an adult domiciled in Florida. Plaintiff has used the
20
     Chrome browser on her personal laptop for numerous activities, including exchanging
21
     communications relating to banking, her children’s education, and for her employment. Plaintiff
22
     has not enabled Sync with her Google accounts on her personal laptop and never consented to
23
     Chrome share her personal information, including the contents of her Internet communications,
24
     with Google. Despite her lack of consent and expressly promising otherwise, Chrome shared
25
     Crespo’s personal information with Google, including the contents of her communications.
26
     Plaintiff has temporarily stopped using Chrome but wishes to use it again once Google stops
27
     tracking un-synced users.
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 1   activity across different sites, for example, to personalize ads.” Despite his lack of consent and

 2   expressly promising otherwise, Chrome shared Randolph’s personal information to other third-

 3   parties, including the content of his communications, because Google designed Chrome to enable

 4   cookie-syncing so third parties could gain access to the content of user communications regardless

 5   of whether a user clicked to “block third-party cookies.”

 6          26.     Plaintiff Dr. Corinice Wilson is an adult domiciled in Oklahoma. Plaintiff has used

 7   the Chrome browser on her personal laptop for numerous activities, including exchanging

 8   communications relating to shopping, health, insurance, and travel. Plaintiff has also routinely used

 9   the Chrome browser to exchange communications about news, politics, and more. Plaintiff has not

10   enabled Sync with her Google accounts on her personal laptop and never consented to Chrome

11   sharing her Personal Information, including the contents of her Internet communications, with

12   Google. Despite her lack of consent and expressly promising otherwise, Chrome shared Wilson’s

13   personal information with Google, including the content of her communications.

14          27.     Plaintiff Dr. Rodney Johnson is an adult domiciled in Texas. Plaintiff has used the

15   Chrome browser on his personal and business laptop for numerous activities, including exchanging

16   communications for his business. Plaintiff has also routinely used the Chrome browser to exchange

17   communications about news, politics, and more. Plaintiff has not enabled Sync with his Google

18   accounts on his personal laptop and never consented to Chrome sharing his Personal Information,

19   including the contents of his Internet communications, with Google. Despite his lack of consent

20   and expressly promising otherwise, Chrome shared Johnson’s personal information with Google,

21   including the content of his communications.

22          28.     Plaintiff Michael Henry is an adult domiciled in Missouri. Plaintiff has used the

23   Chrome browser on his personal laptop and other devices for numerous activities, including

24   exchanging communications with numerous websites on a variety of topics,

25                                     Plaintiff has not enabled Sync with his Google accounts on his

26   personal laptop and never consented to Chrome sharing his Personal Information, including the

27   contents of his Internet communications, with Google. Despite his lack of consent and expressly

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 1   promising otherwise, Chrome shared Henry’s personal information with Google, including the

 2   content of his communications.

 3          29.     Plaintiff Nicholas Genova is an adult domiciled in California. Plaintiff has used the

 4   Chrome browser on his personal laptop and other devices for numerous activities, including

 5   exchanging communications with and about his family’s home mortgage. Plaintiff exchanged such

 6   communications because his family’s mortgage lender has a website that requires mortgagees to

 7   use Chrome to access all features of the site, including the ability to view statements and submit

 8   payments. Plaintiff has not enabled Sync with his Google accounts on his personal laptop and never

 9   consented to Chrome sharing his Personal Information, including the contents of his Internet

10   communications, with Google. Despite his lack of consent and expressly promising otherwise,

11   Chrome shared Genova’s personal information with Google, including the content of his

12   communications.

13          30.     Plaintiff José María de Guzmán is an adult domiciled in Florida. Plaintiff has used

14   the Chrome browser on his personal Apple laptop for numerous activities, including exchanging

15   communications with companies required for his business. Plaintiff exchanged such

16   communications with some websites via Chrome because those sites require Chrome to properly

17   access all features of the site. Plaintiff Guzman has not synced his Chrome browser with his Google

18   accounts and never consented to Chrome sharing his Personal Information, including the contents

19   of his Internet communications, with Google. Despite his lack of consent and expressly promising

20   otherwise, Chrome shared Guzman’s personal information with Google, including the content of

21   his communications.

22          31.     Google LLC (“Google”) is a Delaware Limited Liability Company based at

23   1600 Amphitheatre Way, Mountain View, California, whose memberships interests are entirely

24   held by its parent holding company, Alphabet, Inc. (“Alphabet”), headquartered at the same

25   address. Alphabet trades under the stock trading symbols GOOG and GOOGL. Alphabet generates

26   revenues primarily by delivered targeted online advertising through the Google LLC subsidiary.

27   All operations relevant to this complaint are run by Google LLC.

28          32.     In this Complaint, “Google” refers to Google LLC unless otherwise specified.
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     V.     FACTUAL ALLEGATIONS
 1
            A.      Contract Formation
 2
            33.     The contract governing the relationship between Google and Chrome with respect
 3
     to Chrome on the date of the first complaint consisted of three documents: the Google general
 4
     Terms of Service dated March 31, 2020 (Exhibit 4) (“General TOS”); the Google Chrome and
 5
     Chrome OS Additional Terms of Service dated March 31, 2020 (Exhibit 6) (“Chrome TOS”); and
 6
     the Chrome Privacy Notice dated May 20, 2020 (Exhibit 33) (“Chrome Privacy Notice”). 2
 7
            34.     These documents are revised frequently, see chart in Exhibit 1, but the core contract
 8
     terms relevant to this Action are the same throughout the Relevant Period.
 9
            35.     The General TOS incorporates by reference and hyperlinks to “service-specific
10
     additional terms and policies” as illustrated below and in Exhibit 4. The General TOS provides that
11
     certain identified services are governed by the General TOS as well as “additional terms and
12
     policies that apply to that particular service.” It continues, “[t]he Terms of Service, additional terms
13
     and policies define our relationship and mutual expectations as you use these services”:
14

15

16

17

18

19

20

21

22

23

24

25
     2
       Prior to March 31, 2020, the contract also included a fourth document, the Google general Privacy
26   Policy (Exhibits 7 through 16). Also, between the date of the original complaint and this First
     Amended Complaint, Google amended the Additional TOS on January 1, 2021 and updated the
27   Chrome Privacy Notice on January 15, 2021. The relevant promises were not altered in these new
     documents, however, with respect to this case.
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            C.      Google Improperly Collects Personal Information from Un-Synced Chrome
 1                  Users Without Consent and in Breach of Contract

 2                  1.      Definition of Personal Information

 3
            49.     The contract designates California law as the governing law.
 4
            50.     California law defines “Personal Information” as, and it is used in this Complaint to
 5
     mean: “information that identifies, relates to, describes, is reasonably capable of being associated
 6
     with, or could reasonably be linked, directly or indirectly, with a particular consumer or household.
 7
     Personal information includes, but is not limited to, the following if it identifies, relates to,
 8
     describes, is reasonably capable of being associated with, or could be reasonably linked, directly
 9
     or indirectly, with a particular consumer or household:
10
                    a.      Identifiers such as a real name, alias, postal address, unique personal
11
                            identifier, online identifier, internet protocol address, email address, account
12
                            name, social security number, driver’s license number, passport number, or
13
                            other similar identifiers;
14
                    b.      Any categories of personal information described in subdivision (e) of
15
                            Section 1798.80.
16
                    c.      Characteristics of protected classifications under California or federal law;
17
                    d.      Commercial information, including records of personal property, products
18
                            or services purchased, obtained, or considered, or other purchasing or
19
                            consuming histories or tendencies;
20
                    e.      Biometric information;
21
                    f.      Internet or other electronic network activity information, including, but not
22
                            limited to, browsing history, search history, and information regarding a
23
                            consumer’s interaction with an internet website, application, or
24
                            advertisement;
25
                    g.      Geolocation data;
26
                    h.      Audio, electronic, visual, thermal, olfactory, or similar information;
27
                    i.      Professional or employment-related information;
28
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 1                  j.      Education information, defined as information that is not publicly available

 2                          personally identifiable information as defined in the Family Educational

 3                          Rights and Privacy Act (20 U.S.C. § 1232(g); 34 C.F.R. Part 99);

 4                  k.      Inferences drawn from any of the information identified in this subdivision

 5                          to create a profile about a consumer reflecting the consumer’s preferences,

 6                          characteristics, psychological trends, predispositions, behavior, attitudes,

 7                          intelligence, abilities, and aptitudes.”

 8   Cal. Civ. Code § 1798.140(o)(1) (emphasis added).

 9          51.     The Google general Privacy Policy also expressly tracks the California statutory

10   definition of “personal information,” defining it as “information that you provide to us which

11   personally identifies you, such as your name, email address, or billing information, or other data

12   that can be reasonably linked to such information by Google, such as information we associate

13   with your Google Account.” See Ex. 16 (emphasis added).

14          52.     The following data qualifies as personal information when Google code instructs

15   the Google Chrome browser to report it to Google:

16                  a.      IP addresses linked to user agent;

17                  b.      Session and Persistent cookie identifiers;

18                  c.      X-client-data headers; and

19                  e.      Browsing history and information regarding a consumer’s interaction with

20                          an Internet website.

21          53.     Google is reasonably capable of linking IP addresses (including those linked to user

22   agent), persistent cookie identifiers, X-client-data headers, and web browsing history and

23   information regarding a consumer’s interaction with an Internet website, and, in fact, does link such

24   information with individual consumers and their devices.

25                  2.      An IP Address + User Agent Is Personal Information

26          54.     An IP address is a number that identifies a computer connected to the Internet.

27          55.     IP addresses are used to identify and route communications on the Internet.

28          56.     An IP address is not the same thing as a URL.
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 1           57.       IP addresses of individual Internet users are used by Internet service providers,

 2   websites, and tracking companies to facilitate and track Internet communications.

 3           58.       Google tracks IP addresses associated with specific Internet users.

 4           59.       Google is capable of and does in fact associate specific users with specific IP

 5   addresses. For example, when a user signs into a Gmail account, Google associates the personal

 6   information connected with that email account to the IP address in question.

 7           60.       Even if a specific IP address is shared by multiple devices on a single network,

 8   Google is capable of and does, in fact, associate specific users with specific IP addresses. Google

 9   does so through its use of other identifiers tied to an IP address, including User-Agent, which is a

10   list of properties identifying a device within a network.

11           61.       Because Google collects the IP Address and user agent information together, Google

12   can identify a user’s individual device even if more than one device shares the same IP Address.

13                     3.     Persistent Cookies Are Personal Information

14           62.       A cookie is a small text file that a web-server can place on a person’s web browser

15   and computing device when that person’s web browser interacts with the website server.

16           63.       Cookies can perform different functions. Eventually, some cookies were designed

17   to acquire and record an individual Internet user’s communications and activities on websites across

18   the Internet.

19           64.       Cookies are designed to and, in fact, do operate as a means of identification for

20   Internet users.

21           65.       In general, cookies are categorized by (1) duration and (2) party.

22           66.       There are two types of cookies classified by duration:

23                     a.     “Session cookies” are placed on a user’s computing device only while the

24                            user is navigating the website that placed and accesses the cookie during a

25                            single communication session. The user’s web browser deletes session

26                            cookies when the user closes the browser.

27                     b.     “Persistent cookies” are designed to survive beyond a single Internet-

28                            browsing session. The party creating the persistent cookie determines its
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 1                         lifespan. As a result, a persistent cookie can acquire and record a user’s

 2                         Internet communications for years and over dozens, hundreds, or thousands

 3                         of websites. Persistent cookies are sometimes called “tracking cookies.”

 4           67.   Cookies are also classified by the party that uses the collected data:

 5                 a.      “First-party cookies” are set on a user’s device by the website with which

 6                         the user is exchanging communications. For example, Google uses cookies

 7                         on users’ browsers when users’ directly visit Google properties such as

 8                         Gmail. First-party cookies can be helpful to the user, server, and/or website

 9                         to assist with security, log-in, and functionality.

10                 b.      “Third-party cookies” are set on a user’s device by website servers other than

11                         the website or server with which the user is exchanging communications.

12                         For example, the same Gmail user might also have cookies on their Chrome

13                         browser that are set by Google’s other services such as Google Ads or

14                         Google Doubleclick. Unlike first-party cookies, third-party cookies are not

15                         typically helpful to the user. Instead, third-party cookies are typically used

16                         for data collection, behavioral profiling, and targeted advertising.

17           68.   Google uses several cookies to identify specific Internet users and their devices,

18   including the following:

19
      SID                       These cookies contain digitally signed and encrypted records of a user’s
20    HSID                      Google account ID and most recent sign-in time. They are unique and
                                persistent on a user’s device for two years or more.
21    _Secure-SSID              These cookies are “secure” cookies that Google sets and accesses when
      _Secure-HSID              a user signs into a Gmail account and does not formally log-off even after
22                              the user has left the Gmail website. They are unique and persistent on a
                                user’s device for six months or more.
23    NID                       The NID cookie contains a unique ID Google uses to remember user
                                preferences and other information, including, for example, how many
24                              search results they wish to have shown per page and whether they have
                                Google’s SafeSearch filter turned on. NID is also used to help customize
25                              ads on Google properties, like Google search. NID is unique and
                                persistent on a user’s device for two years or more.
26    SSID                      These cookies are unique and persistent on a user’s device for two years
      APISID                    or more. Google does not publicly state their purpose.
27    SAPISID
28
                                                      - 16 -
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      _Secure-3PSID           These cookies are “secure” cookies that Google sets and accesses when
 1    _Secure-APISID          a user signs into a Gmail account and does not formally log-off even after
       Secure-3PAPISID        the user has left the Gmail website.
 2    IDE                     Google uses the IDE cookie for advertising. It is unique and persistent on
                              a user’s device for two years or more.
 3    DSID                    Google also uses the DSID cookie for advertising. It is unique and
                              persistent on a user’s device for two years or more.
 4

 5           69.    Google also engages in a controversial practice known as “cookie syncing” which

 6   further allows Google to associate cookies with specific individuals. With cookie syncing, first-

 7   party cookies are set by websites with which users are directly interacting, but then those first-party

 8   websites also pass that cookie values along to Google Analytics, where Google takes the personal

 9   information it has about the user’s particular browser and links the Google Analytics first-party

10   cookie information to Google’s own third-party cookies and the user’s browsing.

11           70.    Based on an Internet security policy known as the same-origin policy, web-browsers

12   are supposed to prevent different entities from accessing each other’s cookies. For example, at the

13   San Jose Mercury News website, Google would be prevented from accessing the new site’s “first-

14   party” cookie values. And vice-versa, the San Jose Mercury News would be prevented from

15   accessing Google.com’s third-party cookie values.

16           71.    However, Javascript source code running on a webpage can bypass the same origin

17   policy protections by sending a putative ‘first-party’ cookie value in a tracking pixel to a third-party

18   entity. This technique is known in the Internet advertising business as “cookie syncing.”

19           72.    Cookie syncing allows cooperating websites to learn each other’s cookie

20   identification numbers for the same user. Once the cookie syncing operation is complete, the two

21   websites exchange information that they have collected and hold about a user, further making these

22   cookies “Personal Information.”

23           73.    The Google cookie-syncing cookie is called “cid,” which is short for the “Client ID”

24   that Google assigns to a specific user. As Google admits in its Google Analytics documentation for

25   web-developers, the cid cookie is personal information:

26                  In order for Google Analytics to determine that two distinct hits
                    belong to the same user, a unique identifier, associated with that
27                  particular user, must be sent with each hit. The analytics.js library
                    accomplishes this via the Client ID field, a unique, randomly
28                  generated string that gets stored in the browser’s cookies, so
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                     subsequent visits to the same site can be associated with the same
 1                   user. 7

 2            74.    Chrome shares the Client ID value with Google regardless of a user’s Sync status or

 3   log-in status with Google Ads, Google Doubleclick, and Google Analytics. Even worse, Chrome

 4   shares Google’s cid cookie value with Google even when third-party cookies are blocked.

 5   Disguising third-party tracking cookies as first-party cookies is a deceptive privacy practice already

 6   successfully challenged by the FTC when Google attempted it in 2011. United States v. Google,

 7   Inc., 12-cv-4177-SI (N.D. Cal.), complaint dated Aug. 8, 2012, at ¶¶ 46-47.

 8            75.    In addition to sending Google the “CID” cookie value, Chrome also sends cookie-

 9   synced values for Google cookies named _gads ID, _gcl_au/auiddc, and _gid to Google.

10                   4.       X-Client Data Headers Are Personal Information

11            76.    The x-client-data header is an identifier that when combined with IP address and

12   user-agent, uniquely identifies every individual download version of the Chrome browser.

13            77.    The x-client-data identifier is sent from Chrome to Google every time users

14   exchange an Internet communication, including when users log-in to their specific Google

15   accounts, use Google services such as Google search or Google maps, and when Chrome users are

16   neither signed-in to their Google accounts nor using any Google service.

17            78.    Chrome has created and sent the x-client-data identifier to Google with every

18   communication users exchange since at least March 6, 2018.

19            79.    The x-client-identifier is not disclosed in any term of service or privacy policy

20   operative at any time.

21            80.    It is also not hyperlinked to any of these policies and the average, reasonable

22   Chrome user had no reason to know of its existence.

23            81.    Google first publicly admitted to the existence of the x-client-data identifier to the

24   tech community in a document called the Chrome Privacy White Paper, published on March 6,

25   2018. The White Paper assisted developers on the “read” side—or surveillance side—with

26   developing products that could extract this information and further pair it with existing data.

27
     7
         https://developers.google.com/analytics/devguides/collection/analyticsjs/cookies-user-id.
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 1          82.     The White Paper is authored by Google and makes several admissions relevant to

 2   this action, as well as furthering the impression that Chrome was not sending personal information

 3   to Google in violation of its express promises.

 4          83.     The White Paper begins by stating, “This document describes the features in

 5   Chrome that communicate with Google, as well as with third-party services (for example, if you've

 6   changed your default search engine).”

 7          84.     Despite claiming the it would “describe[] the features in Chrome that communicate

 8   with Google[,]” the White Paper does not disclose that Chrome sends users’ personal information

 9   to Google regardless of whether users are logged-in to their Google Sync account or not.

10          85.     Initially, the White Paper falsely represented that the x-client data identifier, which

11   it called a “Chrome-Variations header” did “not contain any personally identifiable information

12   and will only describe the state of the installation of Chrome itself, including active variations, as

13   well as server-side experiments that may affect the installation.”8

14          86.     However, on September 24, 2018, researcher and technologist Vincent Toubiana

15   with ARCEP (a French Telecom regulator), who runs the blog www.unsearcher.org, took notice of

16   X-client-data. What he learned alarmed him:

17                  “The x-client-data header

18                  This is probably the most problematic header and I did not see it
                    mention anywhere else than in the whitepaper. Most users are not
19                  aware of it but this header is sent with every request sent to Google
                    services (and only Google services) to do A/B testing. Google
20                  services include most Google domains, including Doubleclick. Even
                    when Google is a third party, the header is sent. Because it’s a header
21                  and not a cookie, it is sent even when you block cookies.

22                  ....

23                  So not only does this header may [sic] have some privacy
                    implications, it makes the browser not neutral as it gives more data
24                  to Google services.

25                  …

26                  Conclusion

27   8
       https://web.archive.org/web/20180505082442/https://www.google.com/chrome/privacy/whitep
     aper.html
28
                                                       - 19 -
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                      . . . by using custom headers, Google is less and less dependent on
 1                    third party cookies. I would not be surprised if Chrome started to
                      block third party cookies. Actually this may be in Google financial
 2                    interest to do that.9

 3
               87.    On January 14, 2020, Google announced that Chrome would be phasing out the use
 4
     of third-party cookies over two years. Google cynically claimed that its decision was driven by the
 5
     fact that “[u]sers are demanding greater privacy—including transparency, choice, and control over
 6
     how their data is used.” 10 Left unsaid was the fact that Chrome’s x-client header can now uniquely
 7
     identify a majority of web-browsers in the United States, and Google does not need tracking
 8
     cookies anymore. Now that Google controls both the online ad market and the browser market
 9
     simultaneously, blocking third-party cookies simply blocks competing trackers, while Google has
10
     a method to continue back-door tracking through the unique browser identifier created and
11
     disclosed by its browser without any notification to users.
12
               88.    In addition to uniquely identifying Plaintiffs’ browsers, Google also uses the x-
13
     client-identifier to track them across other Google services. For example, on February 4, 2020,
14
     Arnaud Granal, the developer of the Kiwi Browser (a Chromium-based alternative browser for
15
     Android) discovered and disclosed that x-client-data is “a unique ID to track a specific Chrome
16
     instance across all Google properties,” including, in his example, YouTube and Doubleclick. 11
17
               89.    Similarly, Kyle Bradshaw at www.9to5google.com explained the x-client-data
18
     identifier “is sent to those Google servers regardless of whether you’re logged in with your Google
19
     Account or not, which could theoretically tie your logged-out browsing back to your Google
20
     Account.” 12
21
               90.    Bradshaw further explained, “Putting it all together, the accusation being leveled
22
     against Google by the tech community is that the company is making it harder for competing ad
23
     networks and other third-parties to track your browsing while their own purported tracking method
24

25   9
          https://unsearcher.org/more-on-chrome-updates-and-headers
     10
26        https://blog.chromium.org/2020/01/building-more-private-web-path-towards.html
     11
27        https://github.com/w3ctag/design-reviews/issues/467#issuecomment-581944600
     12
          https://9to5google.com/2020/02/06/google-chrome-x-client-data-tracking/
28
                                                    - 20 -
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 1   is able to continue uninhibited.” Regardless of the impact on competitors, the impact on Plaintiffs

 2   and the Class is significant—they cannot escape this new and even more secretive form of

 3   surveillance.

 4          91.      Following the revelations above, Google quietly amended its White Paper to remove

 5   its false representations about the x-client header. For example, on March 12, 2020, in an article

 6   called “Google Backpedals on Claim that X-Client-Data Doesn’t Contain PI Information,” it was

 7   reported by VPN Overview:

 8                   Originally the information about the X-Client-Data header in the
                     whitepaper was as follows: “A list of field trials that are currently
 9                   active on your installation of Chrome will be included in all requests
                     sent to Google. This Chrome variations header (X-Client-Data) will
10                   not contain any personally identifiable information, and will only
                     describe the state of the installation of Chrome itself, including active
11                   variations, as well as server-side experiments that may affect the
                     installation.” In the latest version of the whitepaper, the text stating
12                   that the X-Client-Data header doesn’t contain any PI information
                     has been removed. 13
13
            92.      VPN Overview further explained:
14
                     The fact that Google may be tracking users through the X-Client-
15                   Data header, is in itself of concern. However, it is not the most
                     important issue here. Google probably has other means for tracking
16                   users. Of greater concern is the fact that Google did not disclose
                     what it was using the header for. Google is tracking users without
17                   their knowledge, which is a violation of users’ privacy.
                     Furthermore, the original description of the header’s use was
18                   incredibly inaccurate and likely to have been in breach of legal
                     compliance requirements.
19

20          93.      As of the date of filing, Google still has not fixed the Chrome Privacy Notice, the

21   Google general Terms of Use, or the Google Privacy Policy to accurately disclose the X-Client-

22   Data identifier and its uses.

23                   5.      Browsing History is Personal Information

24          94.      Browsing history consists of a record of a communication or communications that

25   a user exchanges on the Internet and includes both the content of the communication or

26

27   13
        https://vpnoverview.com/news/google-backpedals-on-claim-that-x-client-data-doesnt-contain-
     pi-information/
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 1   communications and data associated with it, such as the time of the communication or

 2   communications.

 3          95.     California law defines “personal information” to include browsing history,

 4   specifically, “Internet or other electronic network activity information, including, but not limited

 5   to, browsing history, search history, and information regarding a consumer’s interaction with an

 6   internet website, application, or advertisement.” Cal. Civ. Code § 1798.140(o)(1)(F).

 7          96.     Google also defines “personal information” to include browsing history in the

 8   Chrome Privacy Notice.

 9          D.      Chrome’s Promise Not To Share PI With Google if Not Synced Was Intended
                    To Encourage, Not Diminish, User Engagement
10

11          97.     Google’s motivation to breach its privacy promises to Un-Synced Chrome Users

12   was to increase user engagement and increase revenue for Google. Higher user engagement means

13   more revenue in that moment for Google, and also more data about the users that can lead to more

14   revenue. By promising more privacy, Google induces more private sharing, which is a more

15   profitable kind of user engagement.

16          98.     “User engagement” is the degree to which users find products, services and

17   processes interesting or useful. It is typically measured by time spent interacting with products and

18   user satisfaction with that time spent. Engagement can be measured by a variety or combination of

19   activities such as downloads, clicks, interactions, shares, and more.

20          99.     Examples of “engagement” data include:

21                  a.       For social or traditional media sites: daily usage, views, time on page, pages

22                           per visit, ad clicks, searches, comments, or shares;

23                  b.       For streaming music apps: daily usage, time spent in app, songs listened to,

24                           playlists created, friends added;

25                  c.       For an e-commerce store: monthly usage, adding items to cart;

26                  d.       For a personal finance app: weekly usage, sync bank accounts, create a

27                           budget, enable notifications, view dashboard; and

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                                                    - 22 -
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 1                   e.      Enterprise software: Monthly usage, create reports, share reports, invite

 2                           users.

 3            100.   Examples of specific metrics used by online entities to track this engagement include

 4   daily active users (DAU), cost-per-acquisition, and ROI. The relative value of these metrics varies

 5   by business. For example, high engagement via views or clicks might be good for a news site but

 6   not for an insurance app, where more usage might suggest that a user is about to file a claim. Higher

 7   engagement leads to higher profits when additional activity leads to purchases, signups,

 8   subscriptions, ad views, or clicks.

 9            101.   Product and marketing teams typically measure user engagement to understand the

10   factors that contribute to higher engagement and use product analytics measure what features affect

11   user behavior. Product analytics and active user engagement data important selling points to

12   advertisers and those who will pay to influences user behavior, whether that is to purchase

13   something, vote or take some other action.

14            102.   By inducing more personal and more active engagement, Google can therefore

15   increase its profitability. Because this is a revenue-generating exercise, analytics teams at Google

16   are incentivized to engage in detailed analysis of both how to stimulate more engagement, and also

17   the value of each kind of engagement and the data that it generates. Put differently, specific user

18   engagement are assigned economic value.

19            103.   By analyzing user flow—where users spend time, how they interact with others,

20   when they disengage with a site or app or maybe interested in paying more to upgrade—Google

21   can learn valuable insights into how to influence users’ choices and how to target them for Google’s

22   partners. User flow is analyzed by using precisely the metrics at issue in this action.

23            104.   Indeed, Google was a pioneer in this field, and Google products help developers

24   create Engagement Scores for users. 14 In June 2011 Google acquired PostRank, specifically

25   because PostRank had an effective tool for measuring user engagement. According to a Google

26   spokesperson at that time, Google is “always looking for new ways to measure and analyze data,”

27
     14
          https://www.chromium.org/developers/design-documents/site-engagement
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 1   and PostRank would help “make this data more actionable and accountable [through] an innovative

 2   approach to measuring web engagement [that can ] help us improve our products for our users and

 3   advertisers. 15

 4             105.    As applied here, the data that Chrome has sent to Google in violation of its promises

 5   not to do so is integral to the calculation of users’ engagement scores. It can also be tied to specific

 6   profitability.

 7             106.    The most powerful of all of these may be the x-client-referrer header, described

 8   above. Because it is all-pervasive and impossible to remove from users’ activity, the richness of

 9   the data Google collects has higher value than disconnected data points of less robust detail.

10             107.    By targeting advertising at users who have a higher amount of “tracked”

11   engagement, Google can increase the profits they make from gathering that data.

12             108.    An “untracked” user may only be shown generic ads. Such ads, in turn, tend to yield

13   a lower engagement rate and therefore generate less profit for Google. A “tracked” user’s browsing,

14   in contrast, yields greater data for Google to target and is also a more lucrative target in its own

15   right. The more active a user is, the more vulnerable to targeting she is, and more valuable as well.

16             109.    In addition, promising a user that she is free from tracking induces a different set of

17   expectations and also a different kind of engagement. Specifically, one would expect a user to

18   engage more actively and more intimately under the belief that she is untracked. She may also

19   engage with different types of content than she would if she knew she were being surveilled,

20   exposing them as relevant for further categories of valuable advertising.

21             110.    Tracking users’ engagement across Google’s advertising products also allows

22   greater optimization of those advertising products, with respect to those individual users, to increase

23   the likelihood of their future engagement with ads, further increasing Google’s ability to generate

24   profit.

25

26

27   15
        https://techcrunch.com/2011/06/03/google-acquires-postrank-an-analytics-service-for-the-
     social-web/
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 1            111.    By sending to Google Un-Synced Chrome users’ data reflecting their behavior,

 2   Google is able to draw a more complete picture of those users, even when they had not opted-in to

 3   such tracking.

 4            112.    All of this results in concrete, ascertainable financial gain for Google, directly

 5   attributable by the increased user engagement. Those profits can be identified and quantified;

 6   indeed, teams of analysts at Google are engaged in precisely this process.

 7
              E.      How Google Instructs Chrome to Report PI to Google
 8
              113.    Chrome is a web-browser—a software application that enables users to exchange
 9
     electronic communications over the Internet.
10
              114.    Every website is hosted by a computer server through which the entity or person in
11
     charge of the website exchanges communications with Internet users via users’ web-browsers.
12
              115.    The process through which Chrome transmits communications between users and
13
     the first-party websites with which users are communications is called packet-switching. 16
14
              116.    The prior technology through which phone communications were transmitted was
15
     called circuit-switching. With circuit-switching, the service provider would establish a single
16
     pathway (or circuit) through which the content of a communication would flow between the parties
17
     to the communication. The problem with circuit-switching is that, if the single path becomes
18
     blocked, the communication fails.
19
              117.    Enter packet-switching. With packet-switching, there is no single, dedicated path
20
     through which the contents of a communication flow. Instead, the contents of a communication are
21
     broken down into dozens, hundreds, or thousands of packets—each of which is routed over a
22
     network with different paths to the destination. Each packet contains part of the content and
23
     information about its destination. Each packet travels independently to the destination and every
24
     packet may travel by a different route to the destination. As the packets arrive, they are arranged
25
     by the device to which they are sent. Only at the end are they put both together and the
26
     communication formed. The path of each packet, and the order in which each packet arrives, is not
27
     16
          Packet-switching is also explained in U.S. v. Szymuszkiewicz, 622 F.3d 701, 704 (7th Cir. 2010).
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                                                     - 25 -
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 1   relevant to the ultimate success of a communication. Some packets may get stopped in the

 2   process—in which case they are resent down a different path.

 3           118.   Packet-switching is now ubiquitous. For example, all 4G and 5G voice or data

 4   communications are made via packet-switching technology.

 5           119.   Thus, although common imagination may suppose that a modern cellphone call or

 6   internet communication involves a direct line of communication between the participants to the

 7   communication, that is not true at all. Through packet-switching, the contents of the communication

 8   are broken down into dozens, hundreds, or thousands of different packets that are exchanged

 9   through separate pathways between the parties to the communication.

10           120.   On the Internet, when a user begins a communication with a website, the user’s

11   browser starts and continues several processes all at once. These simultaneous processes include:

12                  a.    sending contents of the users’ side of the communication to the website;

13                  b.    receiving and rendering the website’s side of the communication;

14                  c.    placing the content of the communication in temporary and intermediate

15                        storage, and;

16                  d.    in some cases, re-directing the contents of the communication to third-parties;

17           121.   The basic commands that Chrome uses to send the users’ side of a communication

18   are called GET and POST requests.

19           122.   When a user types https://www.mercurynews.com/2020/05/24/qa-mental-health-

20   tips-for-handling-the-pandemic/ into her browser (or takes the technological shortcut of clicking a

21   hyperlink), Chrome contacts the website hosting the Mercury News and sends the following

22   communication: “GET 2020/05/24/qa-mental-health-tips-for-handling-the-pandemic/”.

23           123.   If instead the user were filling out a form on that website and clicks a button to

24   submit the information in the form, Chrome similarly makes connection with the website server

25   but instead sends a “POST” request that includes the specific content that the user placed in the

26   form.

27

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 1          124.   When a user clicks a hyperlink or hits ENTER to send a communication, Chrome

 2   determines whether it is a GET or POST request based on the source code within the browser or

 3   the current website with which the user is communicating. The browser then simultaneously:

 4                 a.     Places the contents of the GET or POST request in storage in the browser’s

 5                         web-browsing history and short-term memory; and

 6                 b.     Connects to and begins a back-and-forth the two-way communication

 7                        exchange between the user and the website.

 8          125.   Chrome stores the contents of the communication for at least two purposes:

 9                 a.     content is placed in the browser’s short-term memory so that, if the user’s

10                        web-browser crashes unexpectedly, when the user re-starts their browser, the

11                        browser will be able to offer the user the ability to return to their last

12                        communications prior to the browser’s crash; and

13                 b.     The content is placed in the user’s browsing history and the user’s future

14                        reference for 90 days.

15          126.   For short-term memory, if Chrome crashes unexpectedly and the user re-opens it,

16   Chrome provides the user with the following options at the upper right-hand side of the screen:

17

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24

25          127.   This short-term storage is for purposes of back-up protection.
26          128.   The storage for 90 days in the user’s browsing history is temporary, intermediate
27   storage incidental to the contemporaneous transmission of the communication.
28
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 1            129.    In response to receiving a GET or POST request from a user, the server for the

 2   website with which the user is exchanging a communication will send a set of instructions to

 3   Chrome, commanding Chrome with source code on:

 4                    a.    How to render the website’s portion of the communication; and

 5                    b.    In some cases (up to 86 percent of popular websites), using source code

 6                           provided by Google and specifically designed to command the Chrome to

 7                           contemporaneously re-direct the precise content of the GET or POST part of

 8                           the communication to Google and its various entities attached to personal

 9                           information and other browser-generated data about the content of the

10                           website’s portion of the communication.

11            130.    Google instructs developers to place its source code that commands Chrome to

12   contemporaneously re-direct the contents of the communication exchanged between the user and

13   the website to Google in the website’s header—i.e., before the website’s instructions regarding the

14   contents of its side of the communication. For example, for Google Tag Manager, Google instructs

15   developers to place its code “as close to the opening <head> tag as possible on every page of your

16   website[.]” 17

17            131.    Google’s placement is designed to put priority on the re-directions of content and

18   user personal information from Chrome to Google. By placing the re-direction commands first,

19   Google ensures that the re-direction will occur as soon as possible so that Google will be able to

20   collect the contents and personal information even if the user quickly changes their mind or the

21   browser unexpectedly shuts down before the communication transmissions are complete.

22            132.    The transmission process between Chrome and the website server is not discrete,

23   but instead involves a series of rapid, continuing, simultaneous data exchanges between Chrome

24   and the website server with data flowing both ways throughout the process and through dozens,

25   hundreds, or even thousands of different paths to reach their destination at the user or website.18

26   17
          See https://developers.google.com/tag-manager/quickstart
27   18
        In one example of which counsel is aware, a recording of a single 288 second communication
     resulted in 22,779 separate packet transmissions—or 79 data packet transmissions per second.
28
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 1          133.    The data and content exchanges between Chrome and the website server continue

 2   even after it appears that the website’s portion of the communication has been fully rendered on

 3   the user’s screen.

 4          134.    At the same time that the transmission and content exchange of the communication

 5   is happening between the user’s browser and the website server (i.e. the devices), the contents of

 6   the communication (including the user’s specific request and information about the substance of

 7   website’s side of the communication) are re-directed to third-parties.

 8          135.    The Google and Chrome browser-generated redirections of the contents of the

 9   communication occur:

10                  a.     Without any further action of the user;

11                  b.     While connections and the contents of the communication are still being

12                         exchanged between the user and the website; and

13                  c.     Without exception, while the connection between and the communication

14   between the user and the website is still occurring.

15          136.    Google is the most frequent third-party recipient of browser-redirected

16   communications.

17          137.    The Google source code and Chrome browser-generated re-directions of

18   communications content and personal information from Chrome to Google occurs through a

19   combination placement of web-bugs or tracking pixels and iframes.

20          138.    A web-bug or tracking pixel is a 1x1 pixel that is placed on the screen. It is tiny and

21   purposefully designed to remain invisible to the user. The web-bug is a tiny, invisible window

22   through which Google surveils Internet users.

23          139.    An iframe is a container in which a web-developer can place content, or, in the case

24   of Google’s source code and surveillance tools, can place source code for web-bugs or tracking

25   pixels. In many cases, Google’s source code and Chrome browser-generated re-directions are

26   funneled first through an iframe designed by Google through a service called Google Tag Manager.

27   The source code for Google Tag Manager instructs Chrome to make certain that the surveillance

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 1          149.    Each re-direction of data from Chrome to Google includes one or more of the

 2   following: content of the communication, IP address, user-agent information, x-client-data

 3   identifier, and various unique, persistent cookies identified herein.

 4          150.    On July 21, 2020, counsel for the Plaintiffs employed an expert to record data

 5   transmissions from the Chrome browser to Google in each of three different browser-states for the

 6   example GET request to The Mercury News for the mental health article discussed above. The

 7   browser-states tested were: (1) Sync mode where the Google test account had logged-in to Google

 8   Sync; (2) Basic-browser mode where the Google test account had not logged-in to Google Sync

 9   but was logged into a Google account (here, Gmail); and (3) Basic-browser mode where the Google

10   test account was not logged-in to Google Sync and also not logged into any other Google account.

11          151.    The following charts compare the PI that Chrome sends to Google when the browser

12   is one of three states: first, when the user has affirmatively synced with another Google Account

13   (called “synced” below); second, when the user is not synced, but logged into another Google

14   service such as Gmail (“un-synced, with Gmail log-in”); and third, when the user is neither synced

15   nor logged into any other Google account (“un-synced, logged out”). As the test results below

16   confirm, Google causes Chrome to send PI to itself even when a Chrome user has not authorized

17   the data collection by syncing.

18          152.    Chrome copies and re-directs the content of the user’s GET request (the one asking

19   for the article on mental health) to Google Ads, Google DoubleClick, and Google Analytics in

20   identical fashion regardless of whether the user is synced.

21
                PERSONAL INFORMATION CHROME SENDS TO ALL GOOGLE
22              CONTENT OF COMMUNICATION WITH THE MERCURY NEWS
                  Identical for All Browser-States and All Google Entity Recipients
23    Synced                              2020/05/24/qa-mental-health-tips-for-handling-the-pandemic
      Un-Synced, Gmail Login              2020/05/24/qa-mental-health-tips-for-handling-the-pandemic
24    Un-Synced, no Gmail Login         2020/05/24/qa-mental-health-tips-for-handling-the-pandemic.html

25          153.    Similarly, the x-client-data header Chrome sends to Google Ads, Google

26   DoubleClick, and Google Analytics is identical regardless of whether the user is synced:

27                 PERSONAL INFORMATION CHROME SENDS TO GOOGLE
                               X-CLIENT-DATA-HEADER
28
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          Identical for All Browser-States and All Google Entity Recipients Except Analytics
 1    Synced                          CKy1yQEIkbbJAQimtskBCMS2yQEIqZ3KAQjnyMoBCLTLygE=
      Un-Synced, Gmail Login          CKy1yQEIkbbJAQimtskBCMS2yQEIqZ3KAQjnyMoBCLTLygE=
 2    Un-Synced, no Gmail Login       CKy1yQEIkbbJAQimtskBCMS2yQEIqZ3KAQjnyMoBCLTLygE=

 3
            154.   Similarly, the IP address and User-Agent data Chrome sends to Google Ads, Google
 4
     DoubleClick, and Google Analytics is identical regardless of whether the user is synced.
 5
            155.   Similarly, the Google Analytics “cid” cookie or “Client ID” that Chrome sends to
 6
     Google is identical regardless of whether the user is synced:
 7
                PERSONAL INFORMATION CHROME SENDS TO ALL GOOGLE
 8                            “CID” – “CLIENT ID” COOKIE VALUE
                  Identical for All Browser-States and All Google Entity Recipients
 9    Synced                                           cid=2007029474.1595353114
      Un-Synced, Gmail Login                           cid=2007029474.1595353114
10    Un-Synced, no Gmail Login                        cid=2007029474.1595353114
11
            156.   The third-party cookie data Chrome sends to Google Ads is identical for at least 11
12
     different persistent, unique cookies for Un-Synced Chrome users regardless of whether signed into
13
     Gmail, but not transmitted to Google if the Un-Synced Chrome user is not also logged into Gmail:
14

15                 PERSONAL INFORMATION CHROME SENDS TO GOOGLE ADS
                      UNIQUE, PERSISTENT THIRD-PARTY COOKIE VALUES
16                       Identical for Synced and Un-Synced w/ Gmail Login
      Synced                         SID=zQfoZ_zUnJr9Gm_IL2u7ticWDqZNymdEgeQPEJdMF0tShKy
17                                   XCg_BgOS7PQHBWgLiW71F4Q.
                                     __Secure-3PSID=zQfoZ_zUnJr9Gm_IL2u7ticWDqZNymdEge
18                                   QPEJdMF0tShKyXryW3ljJQRAkrQ
                                     0hbzqbBHg.
19                                   HSID=AFuEZ4mCJy32UrJK7
                                     SSID=Aw06H6mNsRcQYQjqA
20                                   APISID=U1WjkuS385Vfizcg/AXMK-fI2Ee2PZnjSB
                                     SAPISID=tVrmANaeR-_R3mDV/ABTnEns79q7apJgjE
21                                   __Secure-HSID=AFuEZ4mCJy32UrJK7
                                     __Secure-SSID=Aw06H6mNsRcQYQjqA
22                                   __Secure-APISID=U1WjkuS385Vfizcg/AXMK-fI2Ee2PZnjSB
                                     __Secure-3PAPISID=tVrmANaeR-_R3mDV/ABTnEns79q7ap
23                                   JgjENID=204=Yc40KkubQ69v_6cmRVkl6eEK6FPzgNcuct
                                     N7ndjgcsBeMwUO4uxFOCBmFTLG0HNLk7p13a0Le2tnE
24                                   gjOllwZi62Jh4f4fjKFXMR8pL0Z4GqbjlUtejOv3Nvhtf1D
                                     n63dABgRTnJlRXPklAsY5hCMQfLCHCAKIrg01U
25                                   p3q7q2fFN3Aj8lXaT9g12rT5QtcNgJAZP8dKmLevACA
26
      Un-Synced, Gmail Login         SID=zQfoZ_zUnJr9Gm_IL2u7ticWDqZNymdEgeQPEJdMF0tShKy
                                     XCg_BgOS7PQHBWgLiW71F4Q.
27
                                     __Secure-3PSID=zQfoZ_zUnJr9Gm_IL2u7ticWDqZNymdEge
                                     QPEJdMF0tShKyXryW3ljJQRAkrQ
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                                      0hbzqbBHg.
 1                                    HSID=AFuEZ4mCJy32UrJK7
                                      SSID=Aw06H6mNsRcQYQjqA
 2                                    APISID=U1WjkuS385Vfizcg/AXMK-fI2Ee2PZnjSB
                                      SAPISID=tVrmANaeR-_R3mDV/ABTnEns79q7apJgjE
 3                                    __Secure-HSID=AFuEZ4mCJy32UrJK7
                                      __Secure-SSID=Aw06H6mNsRcQYQjqA
 4                                    __Secure-APISID=U1WjkuS385Vfizcg/AXMK-fI2Ee2PZnjSB
                                      __Secure-3PAPISID=tVrmANaeR-_R3mDV/ABTnEns79q7ap
 5                                    JgjENID=204=Yc40KkubQ69v_6cmRVkl6eEK6FPzgNcuct
                                      N7ndjgcsBeMwUO4uxFOCBmFTLG0HNLk7p13a0Le2tnE
 6                                    gjOllwZi62Jh4f4fjKFXMR8pL0Z4GqbjlUtejOv3Nvhtf1D
                                      n63dABgRTnJlRXPklAsY5hCMQfLCHCAKIrg01U
 7                                    p3q7q2fFN3Aj8lXaT9g12rT5QtcNgJAZP8dKmLevACA

 8    Un-Synced, no Gmail Login                                      none

 9          157.    Despite Google’s demonstrated ability above to block the transmission of some

10   cookies, it still causes others to be transmitted, as noted below, regardless of whether the user is

11   synced:

12
         PERSONAL INFORMATION CHROME SENDS TO GOOGLE DOUBLECLICK
13             THIRD-PARTY COOKIES – IDE identical for all browser states
      Synced                          IDE=AHWqTUluD72jj7k5Rr5ipWiIeEiyaUdEyFm-
14                                    N1x6ZCPzZOfbTN0bUarkMjwuYJMV
      Un-Synced, Gmail Login          IDE=AHWqTUluD72jj7k5Rr5ipWiIeEiyaUdEyFm-
15                                    N1x6ZCPzZOfbTN0bUarkMjwuYJMV
      Un-Synced, no Gmail Login       IDE=AHWqTUluD72jj7k5Rr5ipWiIeEiyaUdEyFm-
16                                    N1x6ZCPzZOfbTN0bUarkMjwuYJMV
17          158.    Finally, Chrome sends other third-party cookie personal identifiers that qualify as
18   personal information, regardless of whether the user is synced. These other cookies have values
19   that change based on log-in status, but which are associated with the cookie values that are identical
20   across all browser-states, making them reasonably capable of being associated with specific users:
21
         PERSONAL INFORMATION CHROME SENDS TO GOOGLE DOUBLECLICK
22                             COOKIE SYNCING
                          Identical for All Browser-States
23    Synced                       ID=8067c38bf1d71e0f:T=1595353118:S=ALNI_MacZyW8MLDn-
                                   omh5WOAbbL6y_qlGA
24    Un-Synced, Gmail Login       ID=8067c38bf1d71e0f:T=1595353118:S=ALNI_MacZyW8MLDn-
                                   omh5WOAbbL6y_qlGA
25    Un-Synced, no Gmail          ID=8067c38bf1d71e0f:T=1595353118:S=ALNI_MacZyW8MLDn-
      Login                        omh5WOAbbL6y_qlGA
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 1          159.    Combined, the data that Google causes Chrome to send to itself (illustrated above)

 2   demonstrates that Google has designed Chrome to collect massive amounts of user personal

 3   information and linked to websites visited, regardless whether the Chrome user synced.

 4          160.    Even worse, most of the PI is collected in forms other than cookies (for example, IP

 5   address + user-agent data and the x-client-data identifier) meaning that Chrome will still transmit

 6   the data even if the user is using cookie blockers.

 7
            G.      Plaintiffs’ Personal Experiences
 8
                                          Plaintiff Patrick Calhoun
 9
            161.    On Saturday, July 18, 2020, Plaintiff Patrick Calhoun used Fiddler to recreate and
10
     record data transmission that Chrome sent from his personal computing device to Google related
11
     to websites he had visited earlier in the Relevant Period.
12
            162.    Plaintiff Calhoun recorded that, per his usual practice, he did not sync his browser
13
     with any Google account at the time of the recording:
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 8          169.    The X-Client-Data identifier, IP address, User-Agent, and NID cookie sent to

 9   Google for this communication is identical to the PI Chrome sent to Google following Calhoun’s

10   visit to the prior website (allowing his web browsing history to be comprehensively monitored),

11   except here, the content of the communication in the URL is different.

12          170.    Chrome also improperly sent the following PI to Google DoubleClick:

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20          171.    Once again, the X-Client-Data identifier, IP address, and User-Agent sent to Google

21   DoubleClick for this communication is identical to the personal information Chrome sent to Google

22   at the prior website, allowing for association of multiple websites with the same person.

23          172.    In addition, the IDE cookie identifier is identical to the IDE cookie identifier that

24   Chrome would share with Google DoubleClick for communication with a communication

25   exchanged with a website that has deployed Google’s DoubleClick source code.

26          173.    Further, Chrome disclosed an “adsid” cookie syncing value that would be identical

27   if Calhoun had actually been logged-in to Google Sync.

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 1          177.   Plaintiff Crespo then recorded data transmissions that Chrome sent to Google when

 2   she exchanged Internet communications with her bank. She recorded that Chrome sent the

 3   following personal information to Google even though Crespo was not synced:

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18          178.   Google also caused Chrome to send the following to Google:

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14        185.   Chrome also improperly sent the following PI to Google Analytics:

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16           186.   Despite its promises to the contrary, Google combined Plaintiff Jackson’s personal

17   information that it obtained when she was not logged-in to Google Sync, including communications

18   relating to                                                  with other data it has about her, and will

19   use that data to place Jackson in advertising categories from which Google will profit from targeted

20   advertising to her based on data that it did not have the right to obtain.

21                                         Plaintiff Claudia Kindler
22           187.   The original complaint included a record of communications between Plaintiff

23   Claudia Kindler’s computer and Google. On Friday, April 16, 2021, Plaintiff Kindler used Fiddler

24   to record current data transmissions that Chrome sent from her personal computing device to

25   Google related to websites with which she had exchanged communications earlier in the Relevant

26   Period. Plaintiff Kindler recorded that, per her usual practice, she was not synced at the time of the

27   recording. Plaintiff Kindler then recorded data transmissions that Chrome sent to Google when she

28   exchanged communications using Chrome. Consistent with the Fiddler screenshots submitted
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 1   above by Plaintiffs Calhoun, Crespo and Jackson, Plaintiff Kindler’s Fiddler files demonstrate that

 2   Chrome sent her Personal Information to Google while she was not synced.

 3                                       Plaintiff Leroy Randolph

 4          188.    On March 15, 2021, Plaintiff Leroy Randolph used Fiddler to recreate and record

 5   data transmissions that Chrome sent from his personal computing device to Google related to

 6   websites with which he had exchanged communications earlier in the Relevant Period. Plaintiff

 7   Randolph recorded that, per his usual practice, he was not logged-in to Google Sync at the time of

 8   the recording. Plaintiff Randolph then recorded data transmissions that Chrome sent to Google

 9   when he exchanged communications using Chrome. Consistent with the Fiddler screenshots

10   submitted above by Plaintiffs Calhoun, Crespo and Jackson, Plaintiff Randolph’s Fiddler files

11   demonstrate that Chrome sent his Personal Information to Google while he was not synced.

12          189.    Per his usual practice, Plaintiff Randolph had clicked to “Block third party cookies”

13   in Chrome settings. The Chrome settings screen to “Block third party cookies” appears as follows:

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 1             190.   Despite stating that clicking to “Block third-party cookies” would render Chrome

 2   such that “Sites can’t use your cookies to see your browsing history across different sites, for

 3   example, to personalize ads,” Google designed Chrome so that it would permit third-party sites,

 4   including Google and Facebook, to track users’ browsing history across different sites through the

 5   implementation of “cookie-syncing” as described herein.

 6             191.   Randoph’s Fiddler files demonstrate that Chrome sent his personal information,

 7   including cookies set by third parties and the content of his communications, to Google and other

 8   third parties (including Facebook) despite the fact that his Chrome browser was set to block

 9   tracking through cookies that would permit a site to “see” his “browsing history across different

10   sites.”

11                                      Plaintiff Dr. Corinice Wilson

12             192.   On March 15, 2021, Plaintiff Dr. Corinice Wilson used Fiddler to recreate and

13   record data transmissions that Chrome sent from her personal computing device to Google related

14   to websites with which she had exchanged communications earlier in the Relevant Period. Plaintiff

15   Wilson recorded that, per her usual practice, she was not synced at the time of the recording.

16   Plaintiff Wilson then recorded data transmissions that Chrome sent to Google when she exchanged

17   communications using Chrome. Consistent with the Fiddler screenshots submitted above by

18   Plaintiffs Calhoun, Crespo and Jackson, Plaintiff Wilson’s Fiddler files demonstrate that Chrome

19   sent her Personal Information to Google while she was not synced.

20                                      Plaintiff Dr. Rodney Johnson

21             193.   On March 15, 2021, Plaintiff Dr. Rodney Johnson used Fiddler to recreate and

22   record data transmissions that Chrome sent from his personal and business computing device to

23   Google related to websites with which he had exchanged communications earlier in the Relevant

24   Period. Plaintiff Johnson recorded that, per his usual practice, he was not logged-in to Google Sync

25   at the time of the recording. Plaintiff Johnson then recorded data transmissions that Chrome sent to

26   Google when he exchanged communications using Chrome. Consistent with the Fiddler

27   screenshots submitted above by Plaintiffs Calhoun, Crespo, and Jackson, Plaintiff Johnson’s

28   Fiddler files demonstrate that Chrome sent his Personal Information to Google while not synced.
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 1                                       Plaintiff Michael Henry

 2          194.   On March 15, 2021, Plaintiff Michael Henry used Fiddler to recreate and record data

 3   transmissions that Chrome sent from his personal computing device to Google related to websites

 4   with which he had exchanged communications earlier in the Relevant Period. Plaintiff Henry

 5   recorded that, per his usual practice, he was not logged-in to Google Sync at the time of the

 6   recording. Plaintiff Henry then recorded data transmissions that Chrome sent to Google when he

 7   exchanged communications using Chrome. Consistent with the Fiddler screenshots submitted

 8   above by Plaintiffs Calhoun, Crespo and Jackson, Plaintiff Henry’s Fiddler files demonstrate that

 9   Chrome sent his Personal Information to Google while not synced.

10                                      Plaintiff Nicholas Genova

11          195.   On March 24, 2021, Plaintiff Nicholas Genova used Fiddler to recreate and record

12   data transmissions that Chrome sent from his personal computing device to Google related to

13   websites with which he had exchanged communications earlier in the Relevant Period. Plaintiff

14   Genova recorded that, per his usual practice, he was not logged-in to Google Sync at the time of

15   the recording. Plaintiff Genova then recorded data transmissions that Chrome sent to Google when

16   he exchanged communications using Chrome. Consistent with the Fiddler screenshots submitted

17   above by Plaintiffs Calhoun, Crespo and Jackson, Plaintiff Genova’s Fiddler files demonstrate that

18   Chrome sent his Personal Information to Google while not synced.

19                                   Plaintiff José María de Guzmán

20          196.   On July 30, 2020, Plaintiff José María de Guzmán used Fiddler to recreate and

21   record data transmissions that Chrome sent from his personal computing device to Google related

22   to websites with which he had exchanged communications earlier in the Relevant Period. Plaintiff

23   Guzman recorded that, per his usual practice, he was not logged-in to Google Sync at the time of

24   the recording. Plaintiff Guzman then recorded data transmissions that Chrome sent to Google when

25   he exchanged communications using Chrome. Consistent with the Fiddler screenshots submitted

26   above by Plaintiffs Calhoun, Crespo and Jackson, Plaintiff Guzman’s Fiddler files demonstrate that

27   Chrome sent his Personal Information to Google while he was not synced.

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            H.      Google’s Improper Collection of PI from Plaintiffs and Other Un-Synced
 1                  Chrome Users is a Serious Invasion of the Privacy and is Highly Offensive

 2
            197.    Chrome is now the most widely used browser in the world and is used by 59 percent
 3
     of all desktop computers in the United States.19
 4
            198.    Article I, § 1 of the California Constitution provides: “All people are by nature free
 5
     and independent and have inalienable rights. Among these are enjoying and defending life and
 6
     liberty, acquiring, possessing, and protecting property, and pursuing and obtaining safety,
 7
     happiness, and privacy.” The phrase “and privacy” was added by the “Privacy Initiative” adopted
 8
     by California voters in 1972.
 9
            199.    The right to privacy in California’s constitution creates a right of action against
10
     private as well as government entities.
11
            200.    The principal purpose of this constitutional right was to protect against unnecessary
12
     information gathering, use and dissemination by public and private entities, including computer-
13
     stored and generated dossiers and cradle-to-grave profiles on every American.
14
            201.    In its public statements, Google pays lip-service to the need to protect the privacy
15
     of Internet communications. For example, On June 6, 2016, a coalition of technology companies
16
     and privacy advocates came together to oppose Congressional efforts to expand government
17
     surveillance of online activities through the Senate’s Intelligence Authorization Act for Fiscal Year
18
     2017 and Senator Cornyn’s proposed amendments to the ECPA.
19
            202.    The joint letter, signed by the ACLU, Amnesty International and others was also
20
     signed by Google. These organizations and companies argued (correctly) that obtaining sensitive
21
     information about Americans’ online activities without court oversight was an unacceptable
22
     privacy harm because it “would paint an incredibly intimate picture of an individual’s life” if it
23
     included “browsing history, email metadata, location information, and the exact date and time a
24
     person signs in or out of a particular online account.”
25

26
     19
        Browser Market Share United States of America: May 2019 – May 2020, GlobalStats,
27   https://gs.statcounter.com/browser-market-share/all/united-states-of-america (last visited June 19,
     2020).
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 1          203.    The letter further posited that the proposed online surveillance could “reveal details

 2   about a person’s political affiliations, medical conditions, religion, substance abuse history, sexual

 3   orientation” and even physical movements. The letter concluded that online surveillance raises

 4   “civil liberties and human rights concerns.”

 5          204.    Google has also publicly declared that non-consensual electronic surveillance is

 6   “dishonest” behavior.    For example, earlier this month, Google announced an update to its

 7   “Enabling Dishonest Behavior Policy” (effective August 11, 2020) restricting advertising for

 8   spyware and surveillance technology. The new policy, without any hint of irony, will now “prohibit

 9   the promotion of products or services that are marketed or targeted with the express purpose of

10   tracking or monitoring another person or their activities without their authorization.”

11          205.    Through this new amendment to Google’s pre-existing policy, Google now

12   explicitly takes the position that nonconsensual surveillance of “browsing history” is “dishonest

13   behavior.”

14          206.    Google has also publicly declared privacy to be a human right. In 2004 in a letter

15   from Google’s founders to shareholders at the IPO (included with the Company’s S-1 Registration

16   Statement filed with the SEC), Google declared its goal to “improve the lives of as many people as

17   possible.” This letter appears today on Google’s website on a page touting the company’s

18   commitment to be guided by “internationally recognized human rights standards,” including

19   specifically the human rights enumerated in three documents: The Universal Declaration of Human

20   Rights; the United Nations Guiding Principles on Business and Human Rights; and the Global

21   Network Initiative (“GNI”) Principles.

22          207.    All three of these documents confirm that privacy is a human right and a violation

23   of privacy rights is a violation of human rights.

24          208.    For example, the Universal Declaration declares that no one should be subject to

25   arbitrary interference with privacy, and even declares the right to the protection of laws against

26   such interference.

27          209.    Similarly, the UN Guiding Principles for business identify privacy as a human right.

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 1          210.     The third document, the GNI Principles, has an entire section dedicated to privacy

 2   that begins: “Privacy is a human right and guarantor of human dignity. Privacy is important to

 3   maintaining personal security, protecting identity and promoting freedom of expression in the

 4   digital age.”

 5          211.     Finally, although not mentioned on Google’s website, in 1992 the United States

 6   ratified the International Covenant on Civil and Political Rights, a human rights treaty that

 7   guarantees privacy rights in Article 17.

 8          I.       Plaintiffs’ PI Is Property Owned by the Plaintiffs and Has Economic Value

 9          212.     The value of personal data is well understood and generally accepted as a form of

10   currency.

11          213.     It is by now incontrovertible that a robust market for this data undergirds the tech

12   economy.

13          214.     The robust market for user data has been analogized to the “oil” of the tech

14   industry.20 A 2015 article from TechCrunch accurately noted that “Data has become a strategic

15   asset that allows companies to acquire or maintain a competitive edge.”21 That article noted that

16   the value of a single Internet user—or really, a single user’s data—varied from about $15 to more

17   than $40.

18          215.     The Organization for Economic Cooperation and Development (“OECD”) itself has

19   published numerous volumes discussing how to value data such as that which is the subject matter

20   of this Complaint, including as early as 2013, with its publication “Exploring the Economic of

21   Personal Data: A Survey of Methodologies for Measuring Monetary Value”. 22 The OECD

22   recognizes that data is a key competitive input not only in the digital economy but in all markets:

23
     20
        The world’s most valuable resource is no longer oil, but data, The Economist (May 6, 2017),
24   https://www.economist.com/leaders/2017/05/06/the-worlds-most-valuable-resource-is-no-longer-
     oil-but-data.
25   21
       Pauline Glickman and Nicolas Glady, What’s the Value of Your Data? TechCrunch (Oct. 13,
26   2015), https://techcrunch.com/2015/10/13/whats-the-value-of-your-data/.
     22
        Exploring the Economic of Personal Data: A Survey of Methodologies for Measuring Monetary
27   Value,      OECD       Digital   Economy      Paper     No. 220    at     7    (Apr. 2, 2013),
     http://dx.doi.org/10.1787/5k486qtxldmq-en.
28
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 1   “Big data now represents a core economic asset that can create significant competitive advantage

 2   for firms and drive innovation and growth.”23

 3            216.   In The Age of Surveillance Capitalism, Harvard Business School Professor

 4   Shoshanna Zuboff notes Google’s early success monetizing user data prompted large corporations

 5   like Verizon, AT&T and Comcast to transform their business models from fee for services provided

 6   to customers to monetizing their user’s data—including user data that is not necessary for product

 7   or service use, which she refers to as “behavioral surplus.” 24 In essence, Professor Zuboff explains

 8   that revenue from user data pervades every economic transaction in the modern economy. It is a

 9   fundamental assumption of these revenues that there is a market for this data; data generated by

10   users on Google’s platform has economic value.

11            217.   This is old news. In 2012, Google’s Chief Economist Hal Varian, in conversation

12   with the Economist, referred to one aspect of data’s value as “nowcasting,” or “contemporaneous

13   forecasting”—basically an ability to predict what is happening as it actually occurs.”25 This kind

14   of information clearly has economic value.

15            218.   Professor Paul M. Schwartz writing in the Harvard Law Review, notes:

16                   Personal information is an important currency in the new
                     millennium. The monetary value of personal data is large and still
17                   growing, and corporate America is moving quickly to profit from the
                     trend. Companies view this information as a corporate asset and have
18                   invested heavily in software that facilitates the collection of
                     consumer information.
19

20            219.   This economic value has been leveraged largely by corporations who pioneered the

21   methods of its extraction, analysis, and use. However, the data also has economic value to users.

22   Market exchanges have sprung up where individual users like Plaintiffs herein can sell or monetize

23

24
     23
        Supporting Investment in Knowledge Capital, Growth and Innovation, OECD, at 319 (Oct. 13,
25   2013), https://www.oecd-ilibrary.org/industry-and-services/supporting-investment-in-knowledge-
     capital-growth-and-innovation_9789264193307-en.
26   24
          Shoshanna Zuboff, The Age of Surveillance Capitalism 166 (2019).
27   25
        K.N.C.,     Questioning    the     searches,    The       Economist              (June 13, 2012),
     https://www.economist.com/schumpeter/2012/06/13/questioning-the-searchers.
28
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 1   their own data. For example, Nielsen Data and Mobile Computer will pay users for their data. 26

 2   Google itself has launched apps that pay users for their data directly.27 Likewise, apps such as Zynn,

 3   a TikTok competitor, pay users for to sign up and interact with the app.28

 4          220.    There are countless examples of this kind of market, which is growing more robust

 5   as information asymmetries are diminished through revelations to users as to how their data is being

 6   collected and used.

 7          221.    Indeed, Google once paid users for the very data it now improperly harvests from

 8   Chrome:

 9                  Google is building an opt-in user panel that will track and analyze
                    people’s online behaviors via an extension to its Chrome browser,
10                  called Screenwise. Users that install the plug-in will have the
                    websites they visit and the ways in which they interact with them
11                  recorded, and they will then be paid with Amazon gift cards worth
                    up to $25 a year in return. 29
12

13          222.    As Professors Acquisti, Taylor and Wagman relayed in their 2016 article “The

14   Economics of Privacy,” published in the Journal of Economic Literature:

15                  Such vast amounts of collected data have obvious and substantial
                    economic value. Individuals’ traits and attributes (such as a person’s
16                  age, address, gender, income, preferences, and reservation prices, but
                    also her clickthroughs, comments posted online, photos uploaded to
17                  social media, and so forth) are increasingly regarded as business

18

19

20   26
       Kevin Mercandante, Ten Apps for Selling Your Data for Cash, Best Wallet Hacks (June 10,
     2020), https://wallethacks.com/apps-for-selling-your-data/.
21
     27
        Kari Paul, Google launches app that will pay users for their data, The Guardian (June 11, 2019),
22   https://www.theguardian.com/technology/2019/jun/11/Google-user-data-app-privacy-study;
     Saheli Roy Choudhury and Ryan Browne, Google pays teens to install an app that could collect all
23   kinds of data, CNBC (Jan. 30, 2019), https://www.cnbc.com/2019/01/29/Google-paying-users-to-
     install-app-to-collect-data-techcrunch.html; Tim Bradshaw, Google offers to pay users for their
24   voice recordings, Financial Times (Feb. 21, 2020), https://www.ft.com/content/42f6b93c-54a4-
     11ea-8841-482eed0038b1.
25   28
        Jacob Kastrenakes, A New TikTok Clone hit the top of the App Store by Paying users to watch
26   videos, The Verge (May 29, 2020), https://www.theverge.com/2020/5/29/21274994/zynn-tiktok-
     clone-pay-watch-videos-kuaishou-bytedance-rival.
27   29
        Jack Marshall, Google Pays Users for Browsing Data, DigiDay (Feb. 10, 2012),
     https://digiday.com/media/google-pays-users-for-browsing-data/.
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                    assets that can be used to target services or offers, provide relevant
 1                  advertising, or be traded with other parties.30

 2          223.    There also a private market for users’ personal information. One study by content

 3   marketing agency Fractl has found that an individual’s online identity, including hacked financial

 4   accounts, can be sold for $1,200 on the dark web. 31 These rates are assumed to be discounted

 5   because they do not operate in competitive markets, but rather, in an illegal marketplace. If a

 6   criminal can sell other users’ content, surely users can sell their own. In short, there is economic

 7   value to users’ data that is greater than zero. The exact number will be a matter for experts to

 8   determine.

 9          J.      Plaintiffs Have Suffered Economic Injury

10          224.    Property is the right of any person to possess, use, enjoy, or dispose of a thing,

11   including intangible things such as data or communications.

12          225.    Personal Information, including websites visited by the Plaintiffs, is property under

13   California law.

14          226.    Property includes intangible data, including the very specific data at issue here that

15   Google is taking despite promising users that it would not do so—personal information including

16   Internet communications history and personally identifiable information.

17          227.    Taking Plaintiffs’ PI without authorization is larceny under California law

18   regardless of whether and to what extent Google monetized the data, and Plaintiffs have a right to

19   disgorgement and/or restitution damages for the value of the stolen data.

20          228.    Plaintiffs also have suffered benefit of the bargain damages, in that Google took

21   more data than the parties agreed would be exchanged. Those benefit of the bargain damages also

22   include, but are not limited to, (i) loss of the promised benefits of their Chrome experience; (ii) out-

23   of-pocket costs; and (iii) loss of control over property which has marketable value.

24
     30
25      Alessandro Acquisti, Curtis Taylor, and Liad Wagman, The Economics of Privacy, 54 J. of Econ.
     Literature             2,               at          444             (June                 2016),
26   https://www.heinz.cmu.edu/~acquisti/papers/AcquistiTaylorWagman-JEL-2016.pdf.
     31
        Maria LaMagna, The sad truth about how much your Google data is worth on the dark web,
27   MarketWatch (June 6, 2018), https://www.marketwatch.com/story/spooked-by-the-Google-
     privacy-violations-this-is-how-much-your-personal-data-is-worth-on-the-dark-web-2018-03-20.
28
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 1          229.    In addition, when Plaintiffs became Chrome users, they gained access to Chrome’s

 2   browser in exchange for agreeing to terms of service that Chrome drafted and sharing a limited

 3   amount of data reflecting users’ activity on the platform. In other words, those terms of service

 4   assured users that data would not be sent to Google which was intended to, and did, encourage

 5   Plaintiffs to engage more than they would have otherwise. The delta in data between what Chrome

 6   promised and what in fact Chrome sent to Google can be measured in data and also in dollars,

 7   because data has value.

 8          230.    Data brokers and online marketers have developed sophisticated schemes for

 9   assessing the value of certain kinds of data, as discussed above. Experts in the field have identified

10   specific values to assign to certain kinds of activity. While Plaintiffs largely knew that Google

11   generates revenue from business by selling advertising directed at users, it was a material term of

12   the bargain that Plaintiffs’ personal information would not be shared with Google if users did not

13   take the affirmative step of activating Sync for their Chrome account. It was also a material term

14   of the bargain that user would not “need to provide any personal information to use Chrome.”

15          231.    Google did not honor the terms of this bargain. Although the Chrome Privacy Notice

16   stated that Plaintiffs’ did not “need to provide any personal information to use Chrome” and that

17   their personal information would not be shared with Google unless they Synced their account, in

18   practice, their information was shared with Google as if they had activated Sync.

19          232.    When Chrome shared and Google collected Plaintiffs’ personal information from

20   Chrome that Plaintiffs had not chosen to share with Google, Google received benefits. First, Google

21   captured-revenues associated with increased user activity on the Chrome browser and from

22   enhanced targeting as a result of ever-more detailed datasets collected about users. Second, Google

23   also transferred costs and harms to Plaintiffs in that Google did not have to invest in protecting that

24   data or preventing its dissemination as it promised users it would.

25          233.    As Google expanded the scope of access to Plaintiffs’ personal information beyond

26   that which Plaintiffs had agreed, users were denied the benefit of a Chrome experience where they

27   were promised the right to determine the terms and scope of their content and personal information

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 1   sharing. Thus, through Chrome’s sharing of Plaintiffs’ personal information with Google, Plaintiffs

 2   lost benefits.

 3           234.     In order to preserve their privacy, Plaintiffs who now understand at least some of

 4   Google’s violations—and there is much to be revealed about Google’s actual activities—are

 5   presented with the choice of: (i) reducing or ending their participation on Chrome; or (ii) knowingly

 6   accepting less privacy than that which was promised. Each of these options deprives Plaintiffs of

 7   the remaining benefits of their original bargain. There is no option which recovers it. None of it

 8   recaptures the data taken in violation of Chrome’s promises.

 9           235.     Further, Plaintiffs were denied the benefit of this information and therefore the

10   ability to mitigate harms they incurred because of Chrome’s impermissible disclosure of their

11   personal information to Google. That is, Google’s lack of transparency prevented and still prevents

12   Plaintiffs’ ability to mitigate.

13           236.     Google knew that it was collecting users’ personal information regardless of

14   whether users had taken affirmative steps to turn on the synchronization feature. Yet, Google failed

15   to warn users so that they could take steps to avoid exposing their information on Chrome.

16           237.     Google also knew that it was not possible for users to use Chrome without providing

17   any personal information.

18           238.     Google avoided costs it should have incurred because of its own actions—

19   particularly the loss of user engagement which would have resulted from transparent disclosure of

20   Googler’s actions—and transferred those costs to Plaintiffs. Warning users would have chilled

21   Chrome engagement as well as discourage potential new users from joining.

22           239.     Google was thus not only able to evade or defer these costs but to continue to accrue

23   value for the Company and to further benefit from the delay due to the time value of money. Google

24   has thus transferred all the costs imposed by the unauthorized disclosure users’ content and personal

25   information onto Plaintiffs. Google’s increased mitigation costs by failing to notify users that their

26   personal information had been disclosed and to alert them at the earliest time possible so that users

27   could take steps to minimize their exposure on the browser.

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 1            240.     In addition, Plaintiffs have also suffered from the diminished loss of use of their

 2   own personal information, property which has both personal and economic value to them.

 3            241.     Plaintiffs’ personal information has value. First, there is transactional, or barter,

 4   value to user content and personal information. Indeed, Google has traded the ability to use its

 5   Chrome browser for the collection of users’ personal information—all the while promising users

 6   that it was not necessary for them to share any personal information to use Chrome and that Chrome

 7   would not share any of their personal information with Google unless they were Synced.

 8            242.     Second, Plaintiffs’ property, which has economic value, was taken from them

 9   without their consent and in contradiction of Chrome’s express promise not to send it to Google.

10   There is a market for this data, and it has at minimum a value greater than zero.

11            243.     Users were harmed when Google took their property and exerted exclusive control

12   over it, collecting it without users’ knowledge and for still undisclosed purposes.

13            K.       Google Has Been Unjustly Enriched

14            244.     Google’s $1 trillion business was built entirely on monetizing the value of Internet

15   users’ data. 32

16            245.     Professor Zuboff details Google’s role as one of the main drivers of data collection

17   and monetization:

18                     In 2016, 89 percent of the revenues of [Google’s] parent company,
                       Alphabet, derived from Google’s targeted advertising programs. The
19                     scale of raw-material flows is reflected in Google’s domination of
                       the internet, processing over 40,000 search queries every second on
20                     average: more than 3.5 billion searches per day and 1.2 trillion
                       searches per year worldwide in 2017. 33
21

22            246.     Indeed, “Google maximizes the revenue it gets from [landing pages] by giving its

23   best position to the advertiser who is likely to pay Google the most in total, based on the price per

24

25
     32
26      Google owner Alphabet is now worth $1 trillion, CNN (Jan. 16, 2020),
     https://www.cnn.com/2020/01/16/investing/google-trillion-dollar-market-value-apple-
27   microsoft/index.html.
     33
          Zuboff, supra, at 92.
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 1   click multiplied by Google’s estimate of the likelihood that someone will actually clock on the

 2   ad.” 34

 3             247.   For its part, Google explains under the header of “How we make money” in its

 4   annual financial statements, that its goal is to “deliver relevant ads at just the right time and to give

 5   people useful commercial information, regardless of the device they’re using.”35 Google explains

 6   further that it revenues are based primarily on the delivery of “performance advertising,” and

 7   “brand advertising.”

 8             248.   Performance advertising, as Google explains, is driven by users’ engagement with

 9   an advertisement and Google is paid by the advertiser when a user engages in the ad. Brand

10   advertising is built through “enhanc[ing] users’ awareness of and affinity with advertisers’ products

11   and services, through videos, text, images, and other interactive ads that run across various

12   devices.” Under both, Google’s revenues are built upon the ability to target users with

13   advertisements based upon the personal information that Google has collected.

14             249.   The value of Chrome users’ personal information to Google is demonstrated in part

15   by Google’s advertisement revenue during the relevant time period. Google reported $134.8 billion

16   in advertising revenue in 2019, $116.4 billion in 2018, $95.5 billion in 2017, and $79.3 billion in

17   2016. 36 This translates to 83% of Google’s total revenues in 2019, 85% in 2018, 86% in 2017 and

18   87% in 2016.37 While not all of that value is unjustly derived from the specific information collected

19   by Google here, some portion of it is.

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     34
        Peter Coy, The Secret to Google’s Success, Bloomberg (Mar. 6, 2006),
22   http://www.bloomberg.com/news/articles/2006-03-05/the-secret-to-googles-success.
     35
23      2019          Annual        Report,          Alphabet        Inc.       (Feb. 3, 2020),
     https://www.sec.gov/ix?doc=/Archives/edgar/data/1652044/000165204420000008/goog10-
24   k2019.htm#sFA530FF828B154C8973614936FC32E93.
     36
25      2019          Annual         Report,         Alphabet        Inc.       (Feb. 3, 2020),
     https://www.sec.gov/ix?doc=/Archives/edgar/data/1652044/000165204420000008/goog10-
26   k2019.htm#sFA530FF828B154C8973614936FC32E93; 2018 Annual Report, Alphabet Inc.
     (Feb. 4, 2019),
27   https://www.sec.gov/Archives/edgar/data/1652044/000165204419000004/goog10-kq42018.htm.
     37
          2019 Annual Report; 2018 Annual Report.
28
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 1   average revenue per user per year for Google place the value at $256. 40 And at $55 for digital

 2   revenue per member.41

 3            253.   The collection of users’ PI has also facilitated the revenues of Google’s Network

 4   Members’ properties which include ads placed through AdMob, AdSense, DoubleClick

 5   AdExchange. Google’s Network Members’ properties revenues increased by $21.5 in 2019, $20

 6   billion in 2018, $17.6 billion in 2017, and $15.5 billion in 2016.42

 7            254.   Google uses information collected from users to deliver targeted advertisements to

 8   users across Google’s services and across users’ devices. The delivery of targeted advertisements

 9   leads to more engagement with the advertisements, which allows Google to sell the advertisements

10   at a higher rate.

11            255.   Google has recently disclosed the shared take rates from buying portals, Google Ads

12   and Display & Video 260, and from publisher services, Google Ad Manager. The disclosure show

13   that “when marketers used Google Ads or Display & Video 360 to buy display ads on Google Ad

14   Manager,” Google keeps 31% of the ad spend. 43 Google’s cut of the ad spend further demonstrates

15   the markup achieved by its collection, and use of users’ personal information.

16            256.   Google further quantifies the value of users’ data through several user-based

17   metrics, including cost-per-impressions and cost-per-click. Google defines “cost-per-impressions”

18   for Google Network Members’ properties, such as AdMob, AdSense, DoubleClick AdExchange,

19   as the “impression-based and click-based revenues divided by our total number of impressions and

20   represents the average amount we charge advertisers for each impression displayed to users.” 44

21   Google reported a 9% increase in cost-per-impressions for 2019, and 2% increase in 2018.

22   40
        Frederic Filloux, The ARPUs of the Big Four Dward Everybody Else, Medium (Feb. 10, 2019),
     https://mondaynote.com/the-arpus-of-the-big-four-dwarf-everybody-else-e5b02a579ed3.
23
     41
        Fredric Filloux, The NYTimes could be worth $19bn instead of $2bn, Medium (Feb. 15, 2015),
24   https://mondaynote.com/the-nytimes-could-be-worth-19bn-instead-of-2bn-8ab635bc6262.
     42
25        2019 Annual Report; 2018 Annual Report.
     43
26     Sissie Hsiao, How our display buying platforms share revenue with publishers, Google Ad
     Manager (June 23, 2020), https://blog.google/products/admanager/display-buying-share-revenue-
27   publishers/.
     44
          2019 Annual Report.
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 1              257.   Google also reports the “cost-per-click,” which it defines as “click-driven revenues

 2   divided by our total number of paid clicks and represents the average amount we charge advertisers

 3   for each engagement by users.” 45 Google does not include the actual cost-per-click in financial

 4   reports. However, the average costs per click on Google Ads is reportedly $2.32. 46

 5              258.   Google’s user-based revenues are driven by its collection of Internet users’

 6   information to create detailed dossiers about individual’s personal information, including names,

 7   address, education, income, hobbies, interests, relationships, politics, religious beliefs, and more.

 8              259.   Although Google promises that Chrome users can opt out of Google surveillance by

 9   not providing any personal information to use Chrome and not Syncing their data, those promises

10   are not true. And Chrome plays a large part, with over 2 billion active installs allowing data

11   generation and extraction trillions of times on a daily basis. 47

12              260.   Unbeknownst to users, Google has programmed Chrome for surveillance no matter

13   what the user does. By encouraging engagement with Chrome with its promise not to share data

14   with Google, Google ensures that it will be able to track an ever-larger percentage of Internet users.

15              261.   In other words, Chrome’s promise not to send Un-Synced users’ PI to Google was

16   intended to (and did) stimulate greater user engagement. Those false promises also prevented

17   decreased user engagement by disclosing what Chrome’s actual practices are. And Google directly

18   profited from that increased user engagement.

19   VI.        CLASS ACTION ALLEGATIONS

20              262.   This is a class action pursuant to Rules 23(a) and (b)(3) (or, alternatively, 23(c)(4))

21   of the Federal Rules of Civil Procedure on behalf of a Class of all persons residing in the United

22

23
     45
24        Id.
     46
25      Dan Shewan, The Comprehensive Guide to Online Advertising Costs, WordStream
     (Apr. 20, 2020),         https://www.wordstream.com/blog/ws/2017/07/05/online-advertising-
26   costs#:~:text=The%20average%20cost%20of%20an,18..
     47
        Frederic Lardinois, Google says there are now 2 billion active Chrome installs, TechCrunch
27   (Nov. 10, 2016), https://techcrunch.com/2016/11/10/google-says-there-are-now-2-billion-active-
     chrome-installs/.
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 1   States who used Google’s Chrome browser on or after July 27, 2016 without choosing to Sync with

 2   any Google account and whose personal information was collected by Google.

 3          263.      Excluded from the Class are the Court, Defendants and their officers, directors,

 4   employees, affiliates, legal representatives, predecessors, successors and assigns, and any entity in

 5   which any of them have a controlling interest.

 6          264.      The members of the Class are so numerous that joinder of all members is

 7   impracticable.

 8          265.      Common questions of law and fact exist as to all members of the Class and

 9   predominate over any questions affecting solely individual members of the Class. The questions of

10   law and fact common to the Class include:

11                    a.     Whether Chrome shares user personal information with Google when users

12                           were not Synced with their Google accounts;

13                    b.     Whether Chrome users can use the service without providing personal

14                           information to Chrome;

15                    c.     Whether Google had authorization from Un-Synced Chrome Users to

16                           disclose the content of user communications while in storage on the Chrome

17                           browser;

18                    d.     Whether Google had user authorization from Un-Synced Chrome Users to

19                           disclose the content of user communications contemporaneous to their

20                           making;

21                    e.     Whether Google had user authorization from Un-Synced Chrome Users to

22                           acquire the content of user communications while they were in storage in the

23                           Chrome browser;

24                    f.     Whether Google had user authorization from Un-Synced Chrome Users to

25                           acquire the content of user communications contemporaneous to their

26                           making;

27

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 1                   g.      Whether Google’s actions to disclose and acquire the contents of Un-Synced

 2                           Chrome     User     communications      violate    the    federal   Electronic

 3                           Communications Privacy Act;

 4                   h.      Whether Google’s actions violate the California Invasion of Privacy Act;

 5                   i.      Whether Google breached its contract with Un-Synced Chrome Users;

 6                   j.      Whether the Personal Information improperly collected by Google from the

 7                           Un-Synced Users has economic value; and

 8                   k.      Whether Google unjustly profited from the improperly collected Personal

 9                           Information of the Un-Synced Chrome Users.

10           266.    Plaintiffs’ claims are typical of the claims of other Class members, as all members

11   of the Class were similarly affected by Google’s wrongful conduct in violation of federal and

12   California law as complained of herein.

13           267.    Plaintiffs will fairly and adequately protect the interests of the members of the Class

14   and have retained counsel that is competent and experienced in class action litigation. Plaintiffs

15   have no interest that conflict with, or is otherwise antagonistic to the interests of, the other Class

16   members.

17           268.    A class action is superior to all other available methods for the fair and efficient

18   adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the

19   damages individual Class and Subclass members have suffered may be relatively small, the expense

20   and burden of individual litigation make it impossible for members of the Class and Subclass to

21   individually redress the wrongs done to them. There will be no difficulty in management of this

22   action as a class action.

23   VII.    COUNTS

24                                              COUNT ONE

25                        WIRETAP ACT: UNAUTHORIZED INTERCEPTION
                              OF ELECTRONIC COMMUNICATIONS
26                                   18 U.S.C. § 2510, et seq.

27           269.    Plaintiffs hereby incorporate all other paragraphs as if fully stated herein.

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 1          270.    The Electronic Communications Privacy Act (“ECPA”) prohibits the intentional

 2   interception of the contents any wire, oral, or electronic communication through the use of a device.

 3   18 U.S.C. § 2511.

 4          271.    The ECPA protects both the sending and receipt of communications.

 5          272.    18 U.S.C. § 2520(a) provides a private right of action to any person whose wire, oral

 6   or electronic communication is intercepted.

 7          273.    Google intentionally intercepted the electronic communications of Plaintiffs and

 8   other Un-Synced Chrome Users.

 9          274.    The transmission of data between plaintiffs and the websites on which Google

10   tracked and intercepted their communications without authorization while they were Un-Synced

11   were “transfer[s] of signs, signals, writing, … data, [and] intelligence of [some] nature transmitted

12   in whole or in part by a wire, radio, electromagnetic, photoelectronic, or photo-optical system that

13   affects interstate commerce[,]” and were therefore “electronic communications” within the

14   meaning of 18 U.S.C. § 2510(12).

15          275.    Google’s interception of Plaintiffs’ communications was done contemporaneously

16   with the Plaintiffs’ sending and receipt of those communications.

17          276.    The intercepted communications include:

18                  a.     The precise text of GET requests that Chrome users’ exchange with non-

19                         Google websites;

20                  b.     The precise text of user search queries at non-Google sites;

21                  c.     The precise text of specific buttons that users click to exchange

22                         communications at non-Google websites, such as “Log-In” or “Submit.”

23                  d.     The precise text of information that users submit in forms to exchange

24                         communications at non-Google websites.

25                  e.     Information that is a general summary or informs Google of the general

26                         subject of communications that non-Google websites send back to users in

27                         response to search queries and requests for information.

28          277.    The following constitute “devices” within the meaning of 18 U.S.C. § 2510(5):
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 1                  a.    The cookies Google used to track the Plaintiffs’ communications while they

 2                        were not Synced with any Google account, including cookies Google sets and

 3                        acquires through other entities through cookie-syncing;

 4                  b.    The Plaintiffs’ browsers;

 5                  c.    The Plaintiffs’ computing devices;

 6                  d.    Google’s web servers;

 7                  e.    The web-servers of websites from which Google tracked and intercepted the

 8                        Plaintiffs’ communications while they were not Synced with any Google

 9                        account; and

10                  f.    The computer code deployed by Google to effectuate its tracking and

11                        interception of the Plaintiffs’ communications while not Synced with any

12                        Google account.

13           278.   Google is not a party to Plaintiffs’ electronic communications with non-Google

14   websites.

15           279.   Google’s received the content of Plaintiff communications with non-Google

16   websites through the surreptitious duplication and forwarding of those communications by Chrome

17   to Google.

18           280.   Plaintiffs were logged-off of Google Sync when Google intercepted the

19   communications at issue.

20           281.   Plaintiffs did not consent to Google’s acquisition of the contents of their

21   communications with non-Google websites while using the Chrome browser when not logged-in

22   to Google Sync because Google expressly promised that “[t]he personal information that Chrome

23   stores [about users] won’t be sent to Google unless” the Chrome user “choose[s] to store that data

24   in” their “Google Account by turning on sync,” i.e. formally logging-in to a Google service called

25   Sync.

26           282.   Google’s failure to adequately inform websites using its third-party tracking tools

27   that Google had promised Chrome users that it would not share user personal information unless

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 1   the user was logged-in to Sync constituted a fraud and mistake of fact that vitiates any alleged

 2   consent that Google may claim for the non-Google websites.

 3          283.    The ECPA includes a separate affirmative defense for the officers, employees, and

 4   agents of electronic communication service providers, whose facilities are used in the transmission

 5   of electronic communications, “to intercept, disclose, or use that communication in the normal

 6   course of his employment while engaged in any activity which is a necessary incident to the

 7   rendition of his service or the protection of the rights or property of the provider of that service[.]”

 8          284.    As alleged herein, the Google services to which Chrome re-directs Chrome user

 9   communications are not agents of Chrome.

10          285.    The surreptitious re-direction of Chrome user communications to Google while the

11   users were not logged-in to Google Sync was not done in Chrome’s “normal course” and is not a

12   “necessary incident to the rendition” of electronic communication service.

13          286.    The surreptitious re-direction of Chrome user communications to Google while

14   users were not logged-in to Google Sync was not done for “the protection of the rights or property”

15   of Chrome, but instead for advertising and surveillance purposes by Google’s other services.

16          287.    As a result of the above actions and pursuant to 18 U.S.C. § 2520, the Court may

17   assess statutory damages to Plaintiffs; injunctive and declaratory relief; punitive damages in an

18   amount to be determined by a jury, but sufficient to prevent the same or similar conduct by

19   Defendant in the future, and a reasonable attorney’s fee and other litigation costs reasonably

20   incurred.

21                                             COUNT TWO 48

22                 WIRETAP ACT – UNAUTHORIZED DISCLOSURES BY AN ECS
                                   18 U.S.C. § 2510, et. seq.
23

24          288.    The Electronic Communications Privacy Act provides that “a person or entity

25   providing an electronic communication service to the public shall not intentionally divulge the

26   contents of any communication (other than one to such person or entity, or an agent thereof) while

27   48
       The Court dismissed Count 2 on March 17, 2021, see Dkt. No. 142, and Plaintiffs include it here
     only to preserve it for appeal.
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 1   in transmission on that service to any person or entity other than an addressee or intended recipient

 2   of such communication or an agent of such addressee or intended recipient.” 18 U.S.C.

 3   § 2511(3)(a).

 4          289.     An “electronic communication service” is defined as “any service which provides

 5   to users thereof the ability to send or receive wire or electronic communications.” 18 U.S.C.

 6   § 2510(15).

 7          290.     Google Chrome is an ECS because it provides to users thereof the ability to send or

 8   receive electronic communications.

 9          291.     In the absence of a web-browser, Internet users could not send or receive

10   communications over the Internet.

11          292.     Chrome is an ECS provided to the public.

12          293.     Chrome intentionally divulged the contents of user communications with non-

13   Google websites to Google while those user communications were in transmission on Chrome.

14          294.     Google was not an addressee or intended recipient of Plaintiffs’ communications on

15   Chrome while they were not logged-in to Google Sync.

16          295.     Google was not an addressee or intended recipient of the non-Google websites

17   communications to Plaintiffs’ using Chrome while they were not logged-in to Google Sync.

18          296.     Google was not an agent of the Plaintiffs or the non-Google websites.

19          297.     The ECPA provides that “a person or entity providing an [ECS] to the public may

20   divulge the contents of any such communication—(i) as otherwise authorized in sections 2511(2)(a)

21   or 2517 of this title;” (ii) with the lawful consent of the originator or any addressee or intended

22   recipient of such communication; (iii) to a person employed or authorized, or whose facilities are

23   used, to forward such communication to its destination; (iv) which were inadvertently obtained by

24   the service provider and which appear to pertain to the commission of a crime, if such divulgence

25   is made to a law enforcement agency.”

26          298.     Section 2511(2)(a) exempts the contents of communications divulged to “an officer,

27   employee, or agent” of an ECS “in the normal course of employment … while engaged in any

28   activity which is a necessary incident to the rendition” of service “or to the protection of the rights
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 1   or property of the provider of that service[.]” Google lacks this affirmative defense because

 2   Chrome’s divulgences to Google Doubleclick, Google Analytics, Google Ads, and other Google

 3   divisions was not “in the normal course” of the provision of ECS, was not a “necessary incident to

 4   the rendition” of ECS service, and was not for “the protection of the rights or property” of Google.

 5   Instead, the divulgences were for Google’s advertising and surveillance purposes.

 6           299.   Section 2517 relates to divulgences to law enforcement officers and is not pertinent

 7   here.

 8           300.   Chrome lacks the “lawful consent” of the originator and any addressee or intended

 9   recipients of the relevant communications because:

10                  a.     Chrome expressly promised its ECS users that their personal information,

11                         including the contents of their browsing communications, would not be

12                         shared with Google unless the user was logged-in to Google Sync;

13                  b.     Chrome and Google failed to inform non-Google websites using Google

14                         third-party tracking source code that Chrome promised its users not to

15                         divulge such information; and

16                  c.     Chrome failed to block divulgences of Chrome user communications to

17                         Google advertising entities when users were not logged-in to Google Sync,

18                         despite having promised to not share such information with Google in

19                         those circumstances.

20           301.   The Google advertising entities to which the contents of Chrome users’

21   communications were divulged are not employed or authorized, and do not have facilities used, to

22   forward user communications to their intended destinations.

23           302.   The affirmative defines for disclosures to law enforcement does not apply.

24           303.   As a result of the above actions and pursuant to 18 U.S.C. § 2520, the Court may

25   assess statutory damages to Plaintiffs; injunctive and declaratory relief; punitive damages in an

26   amount to be determined by a jury, but sufficient to prevent the same or similar conduct by

27   Defendant in the future, and a reasonable attorney’s fee and other litigation costs reasonably

28   incurred.
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 1                                           COUNT THREE 49

 2                       STORED COMMUNICATIONS ACT – UNAUTHORIZED
                            ACCESS TO STORED ECS COMMUNICATIONS
 3                                       18 U.S.C. § 2701

 4          304.    Plaintiffs hereby incorporate all other paragraphs as if fully stated herein.

 5          305.    The Stored Communications Act (“SCA”) provides a cause of action against a

 6   person who “intentionally accesses without authorization a facility through which an electronic

 7   communication service is provided” or “who intentionally exceeds an authorization to access that

 8   facility; and thereby obtains, alters, or prevents authorized access to a wire or electronic

 9   communication while it is in electronic storage in such a system.” 18 U.S.C. § 2701(a).

10          306.    As set forth above, Google Chrome is an ECS. Google has explained that a web

11   browser is where Internet users “search, chat, email, and collaborate,” and, “in our spare time, we

12   shop, bank, read news, and keep in touch with friends – all using a browser.”

13          307.    The ECPA does not provide a separate definition for “facility” but instead it is

14   defined within the context of the sentences in which it is used.

15          308.    A “facility” under the ECPA is, under the plain language of the statute, that “through

16   which an electronic communication service is provided.” 18 U.S.C. § 2701(a).

17          309.    The ECPA also uses the term “facility” when describing the facts necessary to

18   support a law enforcement application for a Wiretap order, which “shall include,” among other

19   things “a particular description of the nature and location of the facilities from which or the pace

20   where the communication is to be intercepted.” 18 U.S.C. § 2518(1)(b). As used in this ECPA

21   section, “facility” has included telephones and other communications devices that officers have

22   formally requested to be tapped.

23          310.    The items through which the electronic communication services of the Chrome web-

24   browser include:

25                  a.     The Plaintiffs’ personal computing devices;

26                  b.     The Plaintiffs’ Chrome browsers;

27   49
       The Court dismissed Count 3 on March 17, 2021, see Dkt. No. 142, and Plaintiffs include it here
     only to preserve it for appeal.
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 1                  c.     The browser-managed files which, together, constitute all of the programs

 2                         contained within the Plaintiffs’ Chrome browsers; and

 3                  d.     Plaintiffs’ IP addresses.

 4          311.    Google intentionally accessed the Plaintiffs’ personal computing devices, Chrome

 5   browsers, browser-managed files, and IP addresses via the Chrome browser while the Plaintiffs

 6   were not logged-in to Google Sync.

 7          312.    Plaintiffs did not authorize Google to access the content of their communications

 8   stored on their personal computers and the Chrome browser while they were not logged-in to

 9   Google Sync.

10          313.    The information obtained by Google through its unauthorized access included

11   “contents” as described above

12          314.    The ECPA defines “electronic storage” as “any temporary, intermediate storage of

13   a wire or electronic communication incidental to the electronic transmission thereof;” and “any

14   storage of such communication by an electronic communication service for purposes of backup

15   protection of such communication.” 18 U.S.C. § 2510(17).

16          315.    Chrome stores the contents of user communications immediately upon a user’s

17   sending of any communication in at least two ways:

18                  a.     For purposes of backup protection so that if the browser inadvertently shuts

19                         down, the user can be presented with the option to restore previous

20                         communications; and

21                  b.     For a temporary and intermediate amount of time incidental to the

22                         electronic transmission thereof when it places the contents of user

23                         communications into the browser’s web-browsing history, which is only

24                         kept on the browser for 90 days.

25          316.    Plaintiffs and Class Members were harmed by Google’s actions, and pursuant to 18

26   U.S.C. § 2707(c), are entitled to actual damages including profits earned by Google attributable to

27   the violations or statutory minimum damages of $1,000 per plaintiff, punitive damages, costs, and

28   reasonable attorney’s fees.
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 1                                            COUNT FOUR 50

 2                    STORED COMMUNICATIONS ACT – UNAUTHORIZED
                   DISCLOSURES OF STORED COMMUNICATIONS BY AN ECS
 3                                   18 U.S.C. § 2701

 4          317.    Plaintiffs hereby incorporate all other paragraphs as if fully stated herein.

 5          318.    The ECPA provides that “a person or entity providing an electronic communication

 6   service to the public shall not knowingly divulge to any person or entity the contents of a

 7   communication while in electronic storage by that service.”

 8          319.    As alleged above, Google Chrome is an ECS to the public.

 9          320.    As alleged above, Chrome knowingly divulges the contents of user communications

10   to Google while those user communications are in electronic storage by Chrome.

11          321.    Plaintiffs and Class Members were harmed by Google’s actions, and pursuant to

12   18 U.S.C. § 2707(c), are entitled to actual damages including profits earned by Google attributable

13   to the violations or statutory minimum damages of $1,000 per plaintiff, punitive damages, costs,

14   and reasonable attorney’s fees.

15                                             COUNT FIVE

16        VIOLATION OF THE CALIFORNIA INVASION OF PRIVACY ACT (“CIPA”)
                               Cal. Penal Code §§ 631
17

18          322.    Plaintiffs hereby incorporate all other paragraphs as if fully stated herein.

19          323.    The California Invasion of Privacy Act is codified at Cal. Penal Code §§ 630 to 638.

20   The Act begins with its statement of purpose:

21                  The Legislature hereby declares that advances in science and
                    technology have led to the development of new devices and
22                  techniques for the purpose of eavesdropping upon private
                    communications and that the invasion of privacy resulting from the
23                  continual and increasing use of such devices and techniques has
                    created a serious threat to the free exercise of personal liberties and
24                  cannot be tolerated in a free and civilized society.

25   Cal. Penal Code § 630.

26          324.    Cal. Penal Code § 631(a) provides, in pertinent part:

27   50
       The Court dismissed Count 4 on March 17, 2021, see Dkt. No. 142, and Plaintiffs include it here
     only to preserve it for appeal.
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                    Any person who, by means of any machine, instrument, or
 1                  contrivance, or in any other manner ….willfully and without the
                    consent of all parties to the communication, or in any unauthorized
 2                  manner, reads, or attempts to read, or to learn the contents or meaning
                    of any message, report, or communication while the same is in transit
 3                  or passing over any wire, line, or cable, or is being sent from, or
                    received at any place within this state; or who uses, or attempts to
 4                  use, in any manner, or for any purpose, or to communicate in any
                    way, any information so obtained, or who aids, agrees with, employs,
 5                  or conspires with any person or persons to lawfully do, or permit, or
                    cause to be done any of the acts or things mentioned above in this
 6                  section, is punishable by a fine not exceeding two thousand five
                    hundred dollars …
 7
             325.   Google is a “person” or “persons” within the meaning of § 631(a).
 8
             326.   Under § 631, a defendant must show it had the consent of all parties to a
 9
     communication.
10
             327.   Google is headquartered in California; designed and contrived and effectuated its
11
     scheme to track its users while not logged-in to Sync in California; and has adopted California
12
     substantive law to govern its relationship with its users.
13
             328.   At all relevant times, Google’s tracking and interceptions of the Plaintiffs’ Internet
14
     communications while not logged-in to Sync was without authorization and consent from the
15
     Plaintiffs.
16
             329.   Google’s non-consensual tracking of logged-out users’ Internet browsing was
17
     designed to learn or attempt to learn the meaning of the contents of Chrome users’ communications.
18
             330.   Chrome aided and abetted Google in its learning or attempting to learn the meaning
19
     of the contents of Chrome users’ communications.
20
             331.   The following items constitute “machine[s], instrument[s], or contrivance[s]” under
21
     the CIPA, and even if they do not, Google’s deliberate and admittedly purposeful scheme that
22
     facilitated its interceptions falls under the broad statutory catch-all category of “any other manner”:
23
                    a.      The cookies Google used to track the Plaintiffs’ communications while they
24
                            were not logged-in to Google Sync;
25
                    b.      The Plaintiffs’ browsers;
26
                    c.      The Plaintiffs’ personal computing devices;
27
                    d.      Google’s web servers;
28
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 1                   e.      The web-servers of non-Google websites from which Google tracked and

 2                           intercepted the Plaintiffs’ communications while they were not logged-in to

 3                           Google Sync; and

 4                   f.      The computer code Google deployed to effectuate its tracking and

 5                           interception of the Plaintiffs’ communications while Plaintiffs were not

 6                           logged-in to Google Sync;

 7                   g.      The plan Google carried out to achieve its tracking and interception of the

 8                           Plaintiffs’ communications while they were not logged-in to Google Sync.

 9           332.    Google’s learning or attempts to learn the contents of Plaintiffs’ communications

10   while not logged-in to Google Sync occurred while Plaintiffs’ communications with non-Google

11   websites were in transit or in the process of being sent or received.

12           333.    Plaintiffs and Class Members have suffered loss by reason of these violations,

13   including, but not limited to, violation of their rights to privacy and loss of value in their PI.

14           334.    Pursuant to Cal. Pen. Code § 637.2, Plaintiffs and the Class have been injured by

15   Defendant’s violations of Cal. Pen. Code § 631 and each seek damages for the greater of $5,000 or

16   three times the amount of actual damages, as well as injunctive relief.

17                                                COUNT SIX

18                                        INVASION OF PRIVACY

19           335.    Plaintiffs hereby incorporate all other paragraphs as if fully stated herein.

20           336.    Google has intruded upon the following legally protected privacy interests of

21   Plaintiffs:

22                   a.     A right to privacy contained on personal computing devices, including web-

23                           browsing history;

24                   b.     A right to be free from Internet surveillance absent consent;

25                   c.     Statutory rights codified in federal and California privacy statutes;

26                   d.     The California Computer Crime Law, Cal Pen. Code § 502, which applies to

27                           all plaintiffs in this case by virtue of Google’s choice of California law to

28                           govern its relationship with Google users;
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 1                   e.      Cal. Penal Code § 484(a) which prohibiting the knowing theft or defrauding

 2                           of property “by any false or fraudulent representation or pretense[.]”

 3            337.   The Google Terms of Service, and other public promises Google made not to track

 4   or intercept the Plaintiffs’ communications or access their computing devices and Chrome browsers

 5   while not Synced with any Google accounts.

 6            338.   Plaintiffs had a reasonable expectation of privacy in the circumstances in that:

 7                   a.      Plaintiffs could not reasonably expect Google would commit acts in violation

 8                           of federal and state laws;

 9                   b.      Google affirmatively promised users it would not cause Chrome to send their

10                           personal information to Google unless the users choose to Sync with their

11                           Google accounts

12            339.   Google’s actions constituted a serious invasion of privacy in that they:

13                   a.      Invaded a zone of privacy protected by the Fourth Amendment, namely the

14                           right to privacy in data contained on personal computing devices, including

15                           web search and browsing histories;

16                   b.      Violated several federal criminal laws, including the Wiretap Act, and Stored

17                           Communications Act;

18                   c.      Violated dozens of state criminal laws;

19                   d.      Invaded the privacy rights of hundreds of millions of Americans without their

20                           consent;

21                   e.      Constituted the unauthorized taking of valuable information from hundreds

22                           of millions of Americans through deceit.

23            340.   The surreptitious and unauthorized tracking of the internet communications and

24   associated personal information of millions of Americans’ constitutes an egregious breach of social

25   norms.

26            341.   Google lacked a legitimate business interest in tracking users without consent.

27            342.   Plaintiffs have been damaged by Google’s invasion of their privacy and are entitled

28   to just compensation.
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 1                                             COUNT SEVEN

 2                                   INTRUSION UPON SECLUSION

 3            343.   Plaintiffs hereby incorporate all other paragraphs as if fully stated herein.

 4            344.   Plaintiffs asserting claims for intrusion upon seclusion must plead (1) intrusion into

 5   a private place, conversation, or matter; (2) in a manner highly offensive to a reasonable person.

 6            345.   In carrying out its scheme to track and intercept Plaintiffs’ communications and

 7   access their computing devices and Chrome browsers while they were not Synced with other

 8   Google accounts in violation of the governing Terms of Service, Google intentionally intruded

 9   upon the Plaintiffs’ solitude or seclusion in that it effectively placed itself in the middle of

10   communications to which it was not an authorized party and acquired data that was private and

11   Google was not authorized to acquire.

12            346.   Google’s actions were not authorized by the Plaintiffs nor by the websites with

13   which they were communicating.

14            347.   Defendant’s intentional intrusion into Plaintiffs’ Internet communications and their

15   computing devices and Chrome browsers was highly offensive to a reasonable person in that they

16   violated federal and state criminal and civil laws designed to protect individual privacy and against

17   theft.

18            348.   The unauthorized disclosure and taking of personal information from hundreds of

19   millions of Americans through deceit is highly offensive behavior.

20            349.   Secret monitoring of web browsing is highly offensive behavior.

21            350.   Wiretapping and surreptitious recording of communications is highly offensive

22   behavior.

23            351.   Public polling on Internet tracking has consistently revealed that the overwhelming

24   majority of Americans believe it is important or very important to be “in control of who can get

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 1   information” about them; to not be tracked without their consent; and to be in “control[] of what

 2   information is collected about [them].”51

 3             352.   Plaintiffs have been damaged by Google’s invasion of their privacy and are entitled

 4   to reasonable compensation including but not limited to disgorgement of profits related to the

 5   unlawful internet tracking.

 6                                              COUNT EIGHT

 7                                        BREACH OF CONTRACT

 8             353.   Plaintiffs hereby incorporate all other paragraphs as if fully stated herein.

 9             354.   Google’s relationship with its users is governed by the Google general Terms of

10   Service, Chrome TOS and Chrome Privacy Notice, current and prior versions of which are attached

11   to this Complaint as Exhibits 2 through 33.

12             355.   Google promised that Chrome would not report PI to Google unless the Plaintiffs

13   affirmatively chose to Sync the browser with their Google accounts.

14             356.   Google breached this promise.

15             357.   Plaintiffs fulfilled their obligations under the relevant contracts and are not in breach

16   of any.

17             358.   As a result of Google’s breach, Google was able to obtain the personal property of

18   Plaintiffs and other Un-Synced Chrome Users, earn unjust profits, and caused privacy injury and

19   other consequential damages.

20             359.   Plaintiffs and other Un-Synced Chrome Users also did not receive the benefit of the

21   bargain for which they contracted and for which they paid valuable consideration in the form of the

22   PI they agreed to share, which, as alleged above, has ascertainable value to be proven at trial.

23                                               COUNT NINE

24        BREACH OF THE IMPLIED COVENANT OF GOOD FAITH AND FAIR DEALING

25             360.   Plaintiffs hereby incorporate all other paragraphs as if fully stated herein.

26
     51
        Auxier and Rainie, “Key takeaways on Americans’ views about privacy, surveillance and data-
27   sharing” https://www.pewresearch.org/fact-tank/2019/11/15/key-takeaways-on-americans-views-
     about-privacy-surveillance-and-data-sharing/ (last accessed July 23, 2020).
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 1           361.       Every contract imposes upon each party a duty of good faith and fair dealing in its

 2   performance and enforcement.

 3           362.       In dealing between Google and its users, Google is invested with discretionary

 4   power affecting the rights of its users.

 5           363.       Google purports to respect and protect its users’ privacy.

 6           364.       Despite its contractual privacy promises not to track users who choose not to Sync

 7   Chrome with other Google accounts, Google took actions outside those contractual promises to

 8   deprive Plaintiffs and the class of the benefits of their contract with Google.

 9           365.       Google’s tracking and interception of the Internet communications and access to the

10   computing devices and Chrome browsers of logged-off users was objectively unreasonable given

11   Google’s privacy promises.

12           366.       Chrome’s unauthorized disclosures of users’ personal information to Google was

13   objectively unreasonable given Chrome’s privacy promises.

14           367.       Google’s conduct in tracking and intercepting the Internet communications and

15   accessing the computing devices and Chrome browsers of logged-off users evaded the spirit of the

16   bargain made between Google and the plaintiffs.

17           368.       Google’s conduct in this case abused its power to specify terms—in particular,

18   Google’s failed to accurately disclose its tracking of users while they were logged-off of Google

19   Sync.

20           369.       As a result of Google’s misconduct and breach of its duty of good faith and fair

21   dealing, Plaintiffs and the Class suffered damages. Plaintiffs and the Class members did not receive

22   the benefit of the bargain for which they contracted and for which they paid valuable consideration

23   in the form of their personal information, which, as alleged above, has ascertainable value to be

24   proven at trial.

25                                                 COUNT TEN

26              QUASI-CONTRACT (RESTITUTION AND UNJUST ENRICHMENT)
                        (IN ALTERNATIVE TO CONTRACT CLAIMS)
27
             370.       Plaintiffs incorporate all preceding paragraphs as though set forth herein.
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 1              371.   Defendant, intentionally and without consent or other legal justification, violated the

 2   privacy, property, and statutory rights of Plaintiffs and other Un-Synced Chrome Users.

 3              372.   As a result of Defendant’s tortious acts, Defendant received and unjustly retained a

 4   benefit at the expense of Plaintiffs and other Un-Synced Chrome Users.

 5              373.   It would be unjust for Defendant to retain the value of the Plaintiffs’ property and

 6   any profits earned thereon.

 7              374.   If Plaintiffs’ contract claims fail they have no adequate remedy at law to force the

 8   disgorgement of Defendant’s unjustly earned profits. This count is therefore pled in the alternative

 9   to the contract claims.

10                                             COUNT ELEVEN 52

11                 VIOLATION OF COMPUTER FRAUD AND ABUSE ACT (“CFAA”)
                                     18 U.S.C. §1030(g)
12

13              375.   Plaintiffs incorporate all preceding paragraphs as though set forth herein.

14              376.   The CFAA prohibits the knowing “transmission of a program, information, code or

15   command, and as a result of such conduct, intentionally causes damage without authorization, to a

16   protected computer.” 18 U.S.C. § 1030(a)(5)(A).

17              377.   The Plaintiffs’ computers are “protected computers” within the meaning of the

18   statute.

19              378.   The Chrome browser was represented to protect user privacy (by blocking the

20   transmission of PI to Google) unless the user affirmatively elected to Sync the browser with other

21   Google accounts.

22              379.   Chrome’s purported ability to protect user privacy was a core feature of Chrome.

23              380.   Google transmitted code to the Plaintiffs’ computers that caused Chrome to transmit

24   PI to Google without Plaintiff’s authorization.

25              381.   The CFAA defines “damage” to mean “impairment to the integrity or availability of

26   data, a program, a system or information.”

27   52
       The Court dismissed Count 11 on March 17, 2021, see Dkt. No. 142, and Plaintiffs include it
     here only to preserve it for appeal.
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 1           382.    Google’s unauthorized actions impaired the integrity of Plaintiffs’ data, browsers

 2   and computer systems by removing a key privacy feature that should have blocked Google’s

 3   surveillance.

 4           383.    The CFAA provides a private right of action by any person who suffers damage or

 5   loss as a result of Defendant’s unauthorized actions.

 6           384.    Plaintiffs seek money damages and injunctive relief as provided under the statute.

 7                                           COUNT TWELVE

 8       VIOLATION OF CALIFORNIA COMPUTER DATA ACCESS AND FRAUD ACT
                               Cal. Penal Code § 502
 9
             385.    Plaintiffs incorporate all preceding paragraphs as though set forth herein.
10

11           386.    Defendant violated Cal. Penal Code § 502(c)(2) by knowingly and without

12   permission accessing, taking and using Plaintiffs’ and the Class Members’ personally identifiable

13   information.

14           387.    Defendant accessed, copied, used, made use of, interfered with, and/or altered data

15   belonging to Plaintiffs and Class Members: (1) in and from the State of California; (2) in the states

16   in which the Plaintiffs and the Class Members are domiciled; and (3) in the states in which the

17   servers that provided services and communication links between Plaintiffs and the Class Members

18   and Google.com and other websites with which they interacted were located.

19           388.    Cal. Penal Code § 502 provides: “For purposes of bringing a civil or a criminal

20   action under this section, a person who causes, by any means, the access of a computer, computer

21   system, or computer network in one jurisdiction from another jurisdiction is deemed to have

22   personally accessed the computer, computer system, or computer network in each jurisdiction.”

23           389.    Defendants have violated California Penal Code § 502(c)(1) by knowingly and

24   without permission altering, accessing, and making use of Plaintiffs and Class Members’ personally

25   identifiable data in order to execute a scheme to defraud consumers by utilizing and profiting from

26   the sale of their personally identifiable data, thereby depriving them of the value of their personally

27   identifiable data.

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 1           390.    Defendants have violated California Penal Code § 502(c)(6) by knowingly and

 2   without permission providing, or assisting in providing, a means of accessing Plaintiffs’ and Class

 3   Members' computer systems and/or computer networks.

 4           391.    Defendants have violated California Penal Code § 502(c)(7) by knowingly and

 5   without permission accessing, or causing to be accessed, Plaintiffs’ and Class Members' computer

 6   systems and/or computer networks.

 7           392.    Pursuant to California Penal Code § 502(b)(10) a "Computer contaminant" is

 8   defined as "any set of computer instructions that are designed to ... record, or transmit information

 9   within computer, computer system, or computer network without the intent or permission of the

10   owner of the information."

11           393.    Defendants have violated California Penal Code § 502(b)(8) by knowingly and

12   without permission introducing a computer contaminant into the transactions between Plaintiffs

13   and the Class Members and websites; specifically, a “cookie” that intercepts and gathers

14   information concerning Plaintiffs’ and the Class Members’ interactions with certain websites,

15   which information is then transmitted back to Google.

16           394.    As a direct and proximate result of Defendant’s unlawful conduct within the

17   meaning of California Penal Code § 502, Defendant has caused loss to Plaintiffs and the Class

18   Members in an amount to be proven at trial. Plaintiffs and the Class Members are also entitled to

19   recover their reasonable attorneys' fees pursuant to California Penal Code § 502(e).

20           395.    Plaintiffs and the Class Members seek compensatory damages, in an amount to be

21   proven at trial, and declarative or other equitable relief.

22           396.    Plaintiffs and the Class Members are entitled to punitive or exemplary damages

23   pursuant to Cal. Penal Code § 502(e)(4) because Defendant’s violations were willful and, upon

24   information and belief, Defendant is guilty of oppression, fraud, or malice as defined in Cal. Civil

25   Code § 3294.

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 1                                           COUNT THIRTEEN

 2                                       STATUTORY LARCENY
                                    California Penal Code §§ 484 and 496
 3

 4             397.   Plaintiffs incorporate all preceding paragraphs as though set forth herein.

 5             398.   Section 496(a) prohibits the obtaining of property “in any manner constituting

 6   theft.”

 7             399.   Section 484 defines theft, and provides:

 8                    Every person who shall feloniously steal, take, carry, lead, or drive
                      away the personal property of another, or who shall fraudulently
 9                    appropriate property which has been entrusted to him or her, or who
                      shall knowingly and designedly, by any false or fraudulent
10                    representation or pretense, defraud any other person of money, labor
                      or real or personal property, or who causes or procures others to
11                    report falsely of his or her wealth or mercantile character and by thus
                      imposing upon any person, obtains credit and thereby fraudulently
12                    gets or obtains possession of money, or property or obtains the labor
                      or service of another, is guilty of theft.
13

14             400.   Section 484 thus defines “theft” to include obtaining property by false pretense.

15             401.   Defendant intentionally designed a program that would operate in a manner

16   unbeknownst to Plaintiffs whose computers were thus deceived into providing PI to Defendant.

17             402.   Defendant acted in a manner constituting theft and/or false pretense.

18             403.   Defendant stole, took, and/or fraudulently appropriated Plaintiffs’ PI without

19   Plaintiffs’ consent.

20             404.   Defendant concealed, aided in the concealing, sold, and/or utilized Plaintiffs’ PI that

21   was obtained by Defendant for Defendant’s commercial purposes and the financial benefit of

22   Defendant.

23             405.   Defendant knew that Plaintiffs’ PI was stolen and/or obtained because Defendant

24   designed the code that tracked Plaintiffs’ PI and operated it in a manner that was concealed and/or

25   withheld from Plaintiffs.

26             406.   The reasonable and fair market value of the unlawfully obtain personal data can be

27   determined in the marketplace.

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 1                                         COUNT FOURTEEN

 2       VIOLATIONS OF THE CALIFORNIA UNFAIR COMPETITION LAW (“UCL”)
                         Cal. Bus. & Prof. Code § 17200, et seq.
 3

 4          407.    Plaintiffs incorporate all preceding paragraphs as though set forth herein.

 5          408.    The UCL prohibits any “unlawful, unfair, or fraudulent business act or practice and

 6   unfair, deceptive, untrue, or misleading advertising.” Cal. Bus. & Prof. Code § 17200.

 7          409.    Google is a “person” as defined by Cal. Bus. & Prof. Code § 17201.

 8          410.    Google violated Cal. Bus. & Prof. Code §§ 17200, et seq. (“UCL”) by engaging in

 9   unlawful and unfair business acts and practices.

10          411.    Google’s “unlawful” acts and practices include its violation of the Electronic

11   Communications Privacy Act, 18 U.S.C. §§ 2510, et seq.; the California Invasion of Privacy Act,

12   Cal. Penal Code §§ 630, et seq.; the California Computer Data Access and Fraud Act, Cal. Penal

13   Code § 502; California Statutory Larceny, Cal. Penal Code §§ 484 and 496; and the Common Law

14   Right of Privacy.

15          412.    Google’s conduct violated the spirit and letter of these laws, which protect property,

16   economic and privacy interests and prohibit unauthorized disclosure and collection of private

17   communications and personal information.

18          413.    Google’s “unfair” acts and practices include its violation of property, economic and

19   privacy interests protected by the: Electronic Communications Privacy Act, 18 U.S.C. §§ 2510, et

20   seq.; the California Invasion of Privacy Act, Cal. Penal Code §§ 630, et seq.; the California

21   Computer Data Access and Fraud Act, Cal. Penal Code § 502; California Statutory Larceny, Cal.

22   Penal Code §§ 484 and 496; and the Common Law Right of Privacy. To establish liability under

23   the unfair prong, Plaintiffs need not establish that these statutes were actually violated, although

24   the claims pleaded herein do so.

25          414.    Google and Chrome promised Plaintiffs not to send their PI to Google even when

26   Plaintiffs were Un-Synced. Plaintiffs thus had no reason to know and could not have anticipated

27   this intrusion into their privacy by the disclosure to Google of Plaintiffs’ personal information.

28   Google’s conduct was immoral, unethical, oppressive, unscrupulous and substantially injurious to
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 1   Plaintiffs. Further, Google’s conduct narrowly benefitted its own business interests at the expense

 2   of Plaintiffs’ fundamental privacy interests protected by the California Constitution and the

 3   common law.

 4          415.    Google also misrepresented its privacy practices by disguising third-party tracking

 5   cookies as first-party tracking cookies, a practice already successfully challenged by the FTC in an

 6   earlier unrelated action. United States v. Google, Inc., 12-cv-4177-SI (N.D. Cal.). The information

 7   that Google misrepresented and concealed would be, and is, material to reasonable consumers,

 8   namely, that rather than not sharing the information at issue as represented, in fact that information

 9   was shared with Google.

10          416.    Plaintiffs have suffered in jury-in-fact, including the loss of money and/or property

11   as a result of Google’s unfair and/or unlawful practices, to wit, the unauthorized disclosure and

12   taking of their personal information which has value as demonstrated by its use and sale by Google.

13   Plaintiffs have suffered harm in the form of diminution of the value of their private and personally

14   identifiable data and content.

15          417.    Google’s actions caused damage to and loss of Plaintiffs’ property right to control

16   the dissemination and use of their personal information and communications.

17          418.    Google reaped unjust profits and revenues in violation of the UCL. This includes

18   Google’s profits and revenues from their targeted-advertising, improvements of Google’s other

19   products. Plaintiffs and the Class seek restitution and disgorgement of these unjust profits and

20   revenues.

21          419.    Plaintiffs and class members seek all monetary and non-monetary relief allowed by

22   law, including restitution of all profits stemming from Google’s unfair and unlawful business

23   practices; declaratory relief; reasonable attorneys’ fees and costs under California Code of Civil

24   Procedure § 1021.5; injunctive relief; and other appropriate equitable relief.

25                                           COUNT FIFTEEN

26                                        PUNITIVE DAMAGES
                                           Cal. Civ. Code § 3294
27

28          420.    Plaintiffs incorporate all preceding paragraphs as though set forth herein.
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 1           421.   Google has an obligation not to intercept Plaintiffs’ electronic communications

 2   without first obtaining consent, and this obligation exists by law independent of any contract with

 3   Plaintiffs.

 4           422.   California Civil Code Section 3294(a) allows Plaintiffs to recover additional

 5   damages “for the sake of example and by way of punishing the defendant” if the defendant is guilty

 6   of “oppression, fraud or malice.”

 7           423.   Google intentionally caused injury to Plaintiffs and other Un-Synced Chrome Users

 8   by tracking their web use and collecting other PI without permission, and with a conscious disregard

 9   for their rights, making Google guilty of “malice” as defined by Section 3294(c)(1).

10           424.   Google also intentionally misrepresented the privacy settings of Chrome, which was

11   a material feature of the browser. Through Google’s misrepresentation and deceit, Google deprived

12   Plaintiffs and the other Un-Synced Chrome Users of property and privacy rights.

13           425.   Google is liable for punitive damages in an amount to be determined at trial.

14                                           COUNT SIXTEEN

15                                       DECLARATORY RELIEF
                                            28 U.S.C. § 2201(a)
16

17           426.   Plaintiffs incorporate all preceding paragraphs as though set forth herein.

18           427.   An actual and justiciable controversy within the jurisdiction of this Court exists

19   between the Plaintiffs and Google.

20           428.   Plaintiffs seek an order declaring the rights of the parties arising out of the facts of

21   this case, specifically an order declaring:

22                  a.     The Chrome Privacy Notice is a part of the contract between Chrome users

23                          and Google;

24                  b.     The data collected by Google from Chrome is Personal Information under the

25                          terms of the contract and under California law;

26                  c.     Google is in breach of the its contracts with Plaintiffs and Signed-Out

27                          Chrome Users by causing PI to be sent from Chrome to Google;

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 1                  d.     Google has violated the privacy rights of Plaintiffs and other Signed-Out

 2                          Chrome Users by causing Chrome to collect and report users’ PI to Google;

 3                  e.     Plaintiffs have suffered privacy harm; and

 4                  f.     Plaintiffs have suffered economic harm.

 5   VIII. PRAYER FOR RELIEF

 6          WHEREFORE, Plaintiffs respectfully request that this Court:

 7          A.      Certify this action is a class action pursuant to Rule 23 of the Federal Rules of Civil

 8   Procedure;

 9          B.      Award compensatory damages, including statutory damages where available, to

10   Plaintiffs and the Class against Defendant for all damages sustained as a result of Defendant’s

11   wrongdoing, in an amount to be proven at trial, including interest thereon;

12          C.      Permanently restrain Defendant, and its officers, agents, servants, employees and

13   attorneys, from installing cookies on its users’ computers that could track the users’ computer usage

14   after logging out of Google or otherwise violating its policies with users;

15          D.      Award Plaintiffs and the Class their reasonable costs and expenses incurred in this

16   action, including counsel fees and expert fees; and

17          E.      Grant Plaintiffs such further relief as the Court deems appropriate.

18   IX.    JURY TRIAL DEMAND

19          The Plaintiffs demand a trial by jury of all issues so triable.

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 1   Dated: April 16, 2021

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